              Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 1 of 101 Page ID
                                                #:46501



                   1       QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                            John B. Quinn (Bar No . 090378)
                   2        (johnquinn ^^uinnemanuel.corri)
                            Michael T. e11er (Bar No . 196417)
                   3        ^michaelzeller a^quinnemanuel.com}
                              on D. Corey ( ar No . 185066
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                              65 South x ueroa Street 10t Floor
                   5       Los Angeles, California 90^ 17--2543
                           Telephone: 213 443-3000
                   6       Facsimile : 213 443-3100
                   7 Attorneys for Mattel, Inc.
                   8
                                                   UNITED STATES DISTRICT COURT
                   9
                                               CENTRAL DISTRICT OF CALIFORNIA
                  la
                                                         EASTERN DIVISION
                  11
                           CARTER BRYANT, an individual,              CASE NO. CV 04-9049 SGL (RNBx}
                  12
                                      Plaintiff,                      Consolidated with
                  13                                                  Case No. CV 04-09059
                                vs.                                   Case No. CV OS-02727
                  14
                           MATTEL, INC., a Delaware                   DISCOVERY MATTER
                  15       corporation,
                                                                       To Be Heard By Hon . Edward
                  16                  Defendant.                       nfante (Ret.) Pursuant To Order Of
                                                                      December 6, 2006]
                  17
                           AND CONSOLIDATED ACTIONS                   jPUBLIC REDACTEDI
                  18                                                  llECLARATION OF JbN COREY
                                                                      IN SUPPORT OF MATTEL, INC.' S
                  19                                                  OPPOSITION TO THE MGA
                                                                      DEFENDANTS' MOTION FOR
                  20                                                  PROTECTIVE ORDER FROM
                                                                      MATTEL INC.'S NOTICE OF
                  21                                                  DEPOSITION OF LUCY ARANT
                  22
                                                                      Hearing Date:        TBA
                  23                                                  Time:                TBA
                                                                      Place:               Telephonic
                  24
                                                                      Phase 1
                  25                                                  Discovery Cut-off: January 28, 2008
                                                                      Pre-trial Conference:  May 5, 2008
                  26                                                  Trial Date:            May 27, 2008.
                  27
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0720912443147.1        i

                                           COREY DEC. LS.O. MATTEL, IIVC.' S OPP. TO MGA'S MTN. FOR PROTECTIVE ORDER
             Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 2 of 101 Page ID
                                               #:46502




                      I                         DECLARATXON OF JON D. COREY
                      2               ^, Jon D. Corey, declare as follows:
                      3               1.     I am a member of the bars of the State of California and the
                      4 17istrict of Columbia. I am a partner at Quinn Emanuel Urquhart Oliver &
                      5 Hedges, LLP, attorneys for Mattel, Inc. ("Mattel"). I mare this declaration in
                      6 support of Mattel, Inc.'s Opposition To the MGA Defendants' Motion For Protective
                      7 Order From Mattel, Int.'s Notice of Deposition of Lucy Arant. I make this
                      8 declaration of personal, firsthand knowledge, and if called and sworn as a witness, I
                      9 could and would testify competently thereto.
                     10               2.    Attached as Exhibit I is a true and correct copy of the Civil
                     ].1 Minutes, dated January 7, 2008,
                     I2               3.    Attached as Exhibit 2 are true and correct copied of an e-rx^ail
                     13 message from Robert Hemngton to me, dated March 12, 2008 and an a-rnail
                     14 message from Robert Herrington to me, dated March 24, 2008.
                     15               4.    Attached as Exhibit 3 is a true and correct copy of the January 7,
                     16 2008 I-Iearing Transcript, in front of Judge Larson.
                     17               5.    Attached as Exhibit 4 is a true and correct copy of excerpts from
                     18 the deposition transcript of Kerri Brode, dated August I5, 2007.
                     19               b.    .Attached as Exhibit 5 is a true and correct copy of excerpts from
                     20 the deposition transcript of Samir Khare, dated August 20, 2007.
                     2I               7.    Attached as Exhibit 7 is a true and correct copy of the
                     22 Declarations of Kenneth Wright, Rudy Flores, and Miguel Leyva in support of
                     23 Mattel, Inc.'s Reiy to Response to QSC, dated respectively February 19, 2008
                     24 [Wright}, January 25, 2008 [Wright], February I5, 2008 [Leyva}arid January 25,
                     2S 2008 [Flores].
                     26               8.    Attached as Exhibit 8 are true and correct copies of MGA
                     27 Copyright Registra#ions, dated July 2001.
                     28
0720 9124 43 147.1

                                           COREY DEC. I .S.O. MATTEL, INC.'S OPP. TO MGA'S MTTf. FOR PROTECTIV$ ORDER
          Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 3 of 101 Page ID
                                            #:46503




                   1               9.     Attached as Exhibit 9 are true and correct copies of MGA
                   2 Supplemental Copyright Registrations.
                   3               10.    Attached as Exhibit I0 is a true and correct copy of the Order
                   4 Granting Mattel, Inc.'s Motion to Compel MGA to Produce Documents Bearing
                   5 Bates Nos. MGA 0800973-0$00974 and MGA. 0829296 - 0829305, dated December
                   6 ^ 17, 2007.
                   7               11.    Attached as Exhibit 11 is a true and correct copy of the July 2,
                   8 2007 Civii Minutes.
                   9               12.    Attached as Exhibit 12 is a true and correct copy of excerpts
                  10 from the deposition a^ Paula Garcia, dated October 10, 2007.
                     i
                  11             13, Attached as Exhibit 13 is a true and correct copy of a fax from
                  12 Paula Treantafelles to Lucy Ararat, dated December 7, 2004, MGA Bates Nas. MGA
                  I3   0$29296 - 0829345.
                  14               14.    Attached as Exhibit 14 is a true and correct copy of an internal
                  IS MGA Docket Sheet, MGA Bates Nos. MGA 0800973-0800974.
                  16               I declare under penalty of per,^ury under the laws of the United States oI'
                  17 America that the foregoing is true and coxrect.
                  18               Executed on Maxch 27, 2008, at Los Angeles, California.
                  19
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                                                                   Jo    . Coxey
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                                         COREY DEC. I.5.0. MATTEL, INC.'S OPP. TO MGA'S MTI`1. FOR PROTECTIVE ORDER
              Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 4 of 101 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 5 of 101 Page ID
                                  #:46505




                                                    EXHIBIT 1
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      Case 2 : 04-cv-09049-SGL-RNB .      Document 1504       Filed 01107^^d08           Page ^ of 5




                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                              3470 Twelfth Street, Riverside , CA 92501
                                   CIVIL MINUTES -- GENERAL

Case No.    CV 04-fl9049 SGL(RNBx}                                         Date: January 7, 20fl8
Title:      CARTER BRYANT -v- MATTEL, 1NC.
                 AND CONSOLIDATED ACTIONS


PRESENT: HONORABLE STEPHEN G, CARSON, UNITED STATES DISTRICT JUDGE

            Jim Holmes                                        Theresa Lanza
            Courtroom Deputy Cleric                           Gour# Reporter.

ATTORNEYS PRESENT FOR CARTER                          ATTORNEYS PRESENT FOR MATTEL:
BRYANT: Christy Martine Anderson                      John B . Quinn and Michael T. Zeller

ATTORNEYS PRESENT FOR MCA:                             ATTORNEY PRESENT FOR CARLOS
Thomas J. Nolan                                        GUSTAVO MACHADO GOMEZ: _
Carl A, Roth                                           Mark E. Overland
Anna Paris
                                                       ATTORNEY PRESENT FOR NON-PARTY
ATTORNEY PRESENT FOR ^NON-                             STERN & GOLDBERG: Kien C. Tiet
PARTIESANA ELISE CLOONAN,
MARGARET HATCH-EERY, AND                               ATTORNEY PRESENT FOR NON-PARTY
VERONICA MARLOW: Larry W.                              KAYE SCHOLER, LLP: Bryant S. Delgadilla
Mcl[arland


PROCEEDINGS:      ORDER GRANTING IN PART AND DENYING IN PART
                  MATTEL' S MOTION FOR LEAVE TO TAKE ADDITIONAL
                  DISCOVERY (DOCKET #'1134)

                  ORDER GRANTING MOTION TO ENFORCE THE COURT'S
                  ORDER OF AUGUST 27, 2007, AND DENYING REQUEST FOR
                  SANCTIONS ( DOCKET #1143}

MINUTES FORM 9Q                                                                 Initials of Deputy Clerk: ^h
CIVIL -- GEN                                      1                              Tlrrme: 1130


                                                             EXHlB^T                 ^
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Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 7 of 101 Page ID
                                  #:46507

      Case, 2:04-cv-09049-SGL-RNB    Document 1504     Filed 01/07/008    Page 2 of 5




                  ORDER GRANTING MATTEL' S MOTION CLARIFYING
                  COURT'S ORDER APPOINTING DISCOVERY MASTER
                  {DOCKET #1244)

                  ORDER GRANTING CARTER BRYANT AND IVIGA
                  DEFENDANTS' EK PARTE APPLICATION TO COMPEL
                  DEPOSITIONS 4DOCKET #'1462)

     These matters were heard on .^anuary 7, 2008. The Court rules as set forth
below.

      To the extent that this Qrder decides issues more properly decided by the
Discovery Master andlor preempts issues currently pending before the Discovery
1Vlaster, it does so only to resolve those issues in the most expeditious manner
possible. As the Court's order appointing the Discovery Master requires, any and all
discovery disputes must be presen#ed to the Discovery Master for his resolution.

     MATTEL'S MOTION FOR LEAVE TO TAKE ADDITIONAL DISCOVERY
                          (DOCKET #1134]

      This motion is GRANTED IN PART . Leave to take additions ! depositions and
propound additional interrogatories are gran#ed to the extent they are consistent with
Fed. R . Civ. P. 26( b}(2). See Fed . R. Civ. P. 30(a}(2} (A} (depositions }, 33(a}
(interrogatories). Rule 2fi {b)(2} requires a Court to limit discovery where it is
unreasonably cumulative or duplicative ; where it cah be obtained from a more
convenient , less .burdensome , or less expensive source ; where a party has already
had ample opportunity to obtain information from discovery ; where the burden or the
expense of the requested discovery outweighs its likely benefit, taking into account
the factors of the parties ' resources , the importance of the issues at stake , and the
importance of the requested discovery in resolving these issues. Fed. R . Civ. P.
26(b)(2 }(C}{i}-(iii).

      Considering this standard , the Court concludes that Mattel has shown good
cause to grant additional discovery given the complexity of this case , the number of
parties, recent developments related to the substitution of counsel , the concerns
regarding retention and spoliation of evidence , and the delay in receiving paper

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Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 8 of 101 Page ID
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       Case 2:04-cv-09049-SGT-RNB   Document 1504      lriled 01/07/;00$      Page 3 of 5



discovery caused by numerous discovery disputes and aCourt-imposed stay
requested by MGA upon substitution of counsel. Specifically, the Cour# grants
Mattel's request to take the individual depositions relating to the Bratz claims (set
forth in the moving papers at 9-11) and relating to the trade secret and RICO claims
(set forth in the moving papers at 13}. Mattet may serve the nofices of deposition
and propound the interrogatories attached to the moving papers as Exs. A - C_
Additionally, the parties must answer Mattel's previously propounded interrogatories
to which the sole objection raised was that those interrogatories exceeded the
allowable number of interrogatories.

      The Court has heretofore refrained from bifurcating discovery relating to Phase
7 and Phase 2, believing that such an action is fraught with the potential o^
unnecessarily compounding discovery disputes in a case already predisposed to
such disputes. Nevertheless, in light of the additional discovery permitted by this
Order, and to the extent that counsel for the parties who are asserting or defending
against claims to be tried in Phase 2 of the trial are in agreemen#, the Court will
consider a stipulation of those parties that designates certain depositions as "Phase
2" depositions that may be conducted during the month of February, if counsel- can
assure the Court that such depositions can be so canducted wi#hout altering the
Court's pretrial schedule regarding Phase 1.

      Conversely, in light of the standard of review employed regarding the
Discovery Master's^orders, the Court DENIES that portion of Mattel's motion that
seeks additional time in which to depose Canker Bryant. The Court cannot say that
the Discovery Master's order allowing an additional nine hours to depose Carter
Bryant is contrary to law based on.the Discovery Master's unchallenged factual
findings.                                             ^'

 MATTEL'S MOTION TO ENFORCE THE COURT'S ORDER OF AUGUST 2T, 2D07
            AND REQUEST FOR SANCTIONS (DOCKET #1'143}

      This motion is GRANTED. The Court's order clearly applied to "all parties."
 No party sought relief therefrom or clarification of the Court's order.

      As prepared in purported compliance with the Court 's order, the affidavit of
 Carlos Gus#avo Machado Gomez is inadequate as it lacks facts and relies instead
 on conclusory language . IVfachado must file an affidavit that complies with the

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       Case 2:04-cv-09049-SGL-RNB      Document 1504       filed 01/07/008    Page 4 of 5



 Court's order as set forth below.

       Carter Bryan# has refused to comply with the Court's order and has not filed
 the required affidavit.

         Both these parties must file, on or before January ^ 5, 2008, an affidavit setting
 forth a factual description of their preservation efforts, policies, customs, and/or
 practices with respect to potentially discoverable documents related to the present
 litigation. The failure of these parties to comply with this (Jrder will result in the
 imposition of contempt sanctions to coerce their compliance.

       The Court DENIES Mattel's request for costs and sanctions.

                MATTEL'S MOTION CLARtFYlNG COURT' S ORDER
                APPOINTING DISC(7VERY MASTER (DOCKET #1244}

       This motion is DENIED . The Court's order referred to the Discovery Master
 any and all discovery disputes, including those involving third parties.

       Although the,parties stipulated to the Discovery Mas#er, that stipulation was
 entered as the Court's order, and as such, all parties are subject to that order unless
 relieved from it upon proper motion.

       The order was entered as a valid Rule 53{a){1){C) order, not requiring the
 consent of any party or nonparty. Machado has not convinced the Court that, as a
 subsequently added party, he was required to be given the opportunityta object to
 the order before it could be applied to him. See Fed. R. Civ. P. 53{b){^) (requiring
 notice and opportunity to be heardprior to the appointment of a special mas#er).
 Importantly, Machado could have, but did not, seek relief from this order within a
 reasonable amoun# of time after he became a party tv this case.. Furthermore, the
 Court does not find any basis to exclude Machado from the reach of the Court's
 order appointing the Discovery Master pursuant to his present objections.

 DEFENDANTS' EX PARTS APPLICATION TD COMPEL DEPOSITIONS iDOCKET
                              #'1462)

       Carter Bryant and the MGA defendants may depose the ten individuals set

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                                  #:46510
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       Case 2:04-c^-09049-SGL-RN13   Documen# 1504      E;iied 0'E/07^Z008      Page 5 of 5




 forth in their moving papers. The testimony of al€ Ru[e 30 (b)(6) witnesses °count" as
 only one deposition for purposes of determining the tots! number of depositions
 conducted by each side.

       Carter Bryant and the MGA defendants are not relieved of the requirement that
 they serve subpoenas on al€ these deponents other than the current officers of
 Maffei (represented to the Court to be Tm Kilpin, Kevin Farr, and Evelyn Viohl). To
 the extent that Matte€ has made prior written agreements to produce deponents who
 are under its control , it is expected to do so.

       As to all the depositions permitted by this Order , all counsel are expected to
 coordinate their schedules with those of^the deponents such that the depositions are
 held prior tv the discovery cutoff date of January 28, 2008 . However, as set forth
 above in connection with Mattel`s motion to take additiona€ discovery , Phase 2
 depositions may be taken in February pursuant to aCourt-approved stipulation.

       IT IS SO ORDERED.




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                                                    EXHIBIT 2
        Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 12 of 101 Page ID
                                          #:46512




  Sent:    Wednesday, March 12, 2008 5:46 PM
  To:      Jan Corey
  Cc:      Eckles, Paul M (NYC)
  Sui^ject : Matte/MGA -Confirming our Discussions Yesterday

Jon:

To follo^r-up on and confirm our discussions yesterday, we do intend to move far a protective order with respect to Ms.
Ararat and Mr. McFarland. As we agreed, we will file our motions an March 17, 2008, Mattel will fle its Opposition
on March 25, 200$, and MGA will file its reply on March 31, 2008. The motions will be heard at the hearing before
Judge Infante scheduled for April 4, 2008. I^will send you and Paul Eckles the title of the motion so it can be included
in the joint statement being made to the Discovery Master.

Thank you,
--rob

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Robert a. Herrington                                                             .
Skadden , Arps, 51ate, Meagher & Flom LLP
300 South Grand Ave. J Suite 3400 J Los Angeles, CA J 90071
^ Direct: (213) 687-5368 J g Fax: (213) 62^-5368 ^ ^ Email: rherrinq(cz^,skadden.cam

]oanne Otero, Assistan# #o Robert Herrington
^ Direct: (213} 687-5252 J ^ Email: jootero@skadden.com




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thereof. Further information about the f rm, a Iist of the Partners and their professional qualifications will be provided
upon request.**^**********^******^*******x^*****:^^**************^^



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                                      #:46513




----- Original Message -----
From: I-Terrington, Robert J <Robert.Herrington@skadden.com>
To: Jon Corey
Sent: Mon Mar 24 19:21:26 2008
Subj ect: Msg

Jon:

Two additional. days for the opposition on McFarland and Arent is fine. I understand from
your message that we will have 2 additional days as well.     I believe this means yaux'
opposition is due on 3/27 and our reply is due on 4/2. Please confi.xm_ 't'hank you

THIS E-idAIL MESSAGE I5 CONFIDENTIAL AND INTENDED FOR THE PERSON ( S)    NAMED ABOVE ONLY.   ALL
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Robert J. ^Terrington
Skadden, Arps, Slate, Meagher & Flom LLP 300 South Grand Ave. k Suite 3400 ^ I,os Angeles,
CA ^ 90071    Direct: (213} 6g7-5368 ^ 7 Fax: 1213} 621-5368 ^   Email:
xherringC^skadden.com

Joanne Otero, Assistant to Robert Herrington     Direct: (213) 687-5252 ^       Email:




jootero@skadden.com cmailto:jooteroQskadden.cam>




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and any copy of any email, and any printout thereof. Further information about the firm, a
list of the Partners and their professional qualifications will be grovidc:d upon request.

_^^^^_____________________r^_^^^^=__________,^^^^,^^^==___________-_r^^^^W==^==




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                                                               PAGE           ^°
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 14 of 101 Page ID
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                                                    EXHIBIT 3
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          -                1                          UNITED STATES DISTRICT COURT

                           2                         CENTRAL DISTRICT OF CALIFORNIA

                           3                                   EASTERN DIVISxON

                           4                                         _

    .                      5                HONORABT.,E STEPHEN G. CARSON, JUDGE PRESIDING


                                                                                                     £

                           7     CARTER BRYANT, E T . AL . ,                    )    ^ ^ ^^ ^        ^
                                                                                }
..^--------..._._ .__--8--- --------------.^._----._.__- --- -PI^T^TT3FF-5; ^-^-^-^-                     -------_.

                      .    9                   VS.                        ?     ^NO. ED CV Q4-09049
                                                                                 (LEAD LOW NUMBER)
                          10     MATTEL, INC., ET, AL.,                   }

                          11                           DEFENDANTS. )            MOTIONS
         ,.                                                         )
                          Z2     AND CONSOLIDATED ACTIONS,          }


                                                                                                                ..
                          14                                                                     .

                          15                      REPORTERFS TRANSCRIPT OF PROGEEDINGS^

                          16                               RIVERSIDE, CALIFORNIA

•                         17                              MONDAY, JANUARY 7, 2008 •

                          1$                                      '10:11 A.M.

                          19

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                          23                           THERESA A. LANZA, RPR, CSR
           '^                                        FEDERAL OFFICIAL COURT REPORTER
                          24                            3470 12TH STREET, RM. 134
        f'~-=:_                                       RIVERSIDE, CALIFORNIA 92501
               .          25                                   951-274-0844               E^(H^BIT ^,^..
                                                          CSR11457@SBCGLOBAL.NET                     ^j

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                                      JANUARY 7, 2008                         BRYANT VS. MAT'i'FT,
               Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 16 of 101 Page ID
                                                 #:46516
                                                                                                                        2


                         1     APPEARANCES:

     •                   2     ON BEHALF OF CARTER BRYANT:

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          .                                                    BY:  CHRISTA M. ANDERSON
                         4                                     710 SANSOME STREET
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                         5                                     415-391-5400

                         6
                               ON BEHALF OF•MATTEL:
                         7
                                                       QUINN EMANUEL
--...._^ $_.....^-----^----..-.__.__.._..____^.^Yw^.----JOHN--QU^NN-.-------------------^----.__---_----......._...._
                                                      BY:   MICHAEL T. ZELLER
                  9                                    865 S. FIGUEROA STREET,
           •                                           10TH FLOOR
                10                                     LOS ANGELES, CALIFORNIA 90017
                                                       213-624-7707
                11.

                        12     ON BEHALF OF MGA ENTERTAINN^ENT:

 .-'`^^' ^ ,            13                                     SKADDEN, ARPS, SLATE, MEAG^iER & FLOM LLP
^.,..
       ''^                         ^                           BY:   THOMAS J. NOLAN
                        14                                     $Y :  CARL ALAI'S ROTH
                                                               BY: .AMY S. PARK
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                                                               LOS ANGELES, CALIFORNIA 90071-3144
                        15                                     213-687-5000

                        ^. 7
                               ON BEHALF OF GUSTAVO MACHADO:
                        18
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                .       19                                     BY:  MARK E. OVERLAND
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                        20                                     SUITE 2750
                                                               LOS ANGELES, CALIFORNIA 90071
                        21                                     213-613-660

                        22

                        23

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                                           JANUARY 7 , 2 008                  BRYANT VS . M^^TTE^,
             Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 17 of 101 Page ID
                                               #:46517
                                   ^._.
                                                                                                3



                    1   APPEARANCES (CONY' D) :
r

                   2

                   3    ON BEHALF OF NON-PARTY KAYE SCHOLER:

                   4^                             KAYE SCHOLER LLP
                                                  BY:   BRYANT S. DELGADILLO
                   5                              1999^AVENUE OF THE STARS
                                                  SUITE 1.600
                   6                      .       LOS ANGELES, CALIFORNIA 90.0&7--6088
                                                  310-7$$^--134J.
                   7

                                                   -STERN--^-GOLDBER-Gt

                   9                              STERN & GOLDBERG:
                                                  BY:  KIEN C.'TIET
                  10                              6345 BALBOA BOULEVARD,
                                                  SUITE 200
                  11                              ENCINO, - CALIFORNIA 91.31.6
                                                  818-758-3940
       •          12

                        ON BEHALF OF NON--PARTY FARHAD LARIAN:

                  19                              CHRISTENSEN, GLASER, FINK,
                                                    JACOBS, WEIL & SHAPIRO, LLP
                  15                              BY:  ALISA MORGENTHALER LEVER
                                                  ].0250 CONSTELLATION BOULEVARD
                  16                              LOS ANGELES, CALIFORNIA 90]67
                                                  310-553-3000
                  17

                  18    ON BEHALF OF DEFENDANTS CLOONAN, HARLOW,
                        HALPERN, LEAHY, AND ARONT:
                 . 19
                                                  KEATS MCFARLAND & WILSON, LLP
                  20                              BY:  LARRY w. M c FARLAND
                                                  9720 WILSHIRE BOULEVARD
                  21                              BEVERLY^HILLS, CALIFORNIA 90212
                                                  310-777-3750
                  22

                  23

                  ^24
                                                                          ^^^^^
^: ., ^ ^'        25
                                                                       PAGE _     /^



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                           ^_.... ^'
                                                                                                     5



       1           RIVERSIDE,          CALIFORNIA; MONDAY, JANUARY 7, 2008; 1Q:11 A.M.

       2                                                 -000-

       3                  THE CLERK :          CALLING CALENDAR ITEM NUMBER FOUR,

       ^    CARTER BRYANT, PLAINTIFF, VERSUS MATTEL, CASE NUME3ER CV--04-9059

       5    AND THE CONSOLIDATED DOCKET NUMBERS CV-09-9049 AND 05-2727.                                  ao:i^

       6                  MAY WE HAVE COUNSEL PLEASE STATE YOUR APPEARANCES FOR

       a     THE RECORD.

- _ __^_-. _._--     --   MR,.-NOLAi^i:- --^^'{^M-^NOLAN^--£ARi^--^20T'H;-..A3^TD-^3C -PARK ^ON------- -------

       9    BEHALF OF MGA.                                                                     -

     IO                   IvI'S. ANDERSON :          CHRISTA ANDERSON ON BEHALF OF                       10: ^.]

      11    CARTER BRYANT.

     Z2                   MR. OVERLAND:              MIRK OVERLAND ON BEHALF OF

      1S    MR. MACHADO.

      14                  MR.^ MCFARLAND:             LARRY MCFARLAND ON BEHALF OF

     ,15    MS. CLOONAN, MS. LEAHY, MS. HARLOW, MS. ARONT, At3D MS. HALPERN.                             10:ax

      15                  MS. MORGENT'HALER:             ALISA MORGENTHALER, OF CHRISTENSEN

      17     GLASER, ON BEHALF OF NONPARTY FARHAD LARIAN.

      3.8                 MR. TIET :           EiTEN TIET ON BEHALF OF NONPARTY STERN

      19     & GOLDBERG.

      20                  MR. DELGAUILLO:              BRYANT DELGADILLO ON BEHALF OF                    io:a^

      21     NONPARTY KAYE SCHOLER, LLP.

      22                   MR. QUINN :             JOHN QUINN AND MIKE ZELLER ON BEHALF OF

      23     MATTEL.

      29                   THE COURT:              THE COURT HAS SEVERAL MATTERS BEFORE IT

      25     ON THIS MATTER. I HAVE THE MOST RECENTLY FILED MGA'S AND                                    lo:l^
                                                                           ^^^^^^^

                                                                        ^^^^              ^
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                                                                                                                         6



                           I    CARTER BRYANT'S EX-PARTE APPLICATION TO COMPEL NOTICE
         '.
                           2    DEPOSITIONS; THAT WAS SET BY THE PARTIES, AT LEAST B1' THE

                           3    MOVING PARTY, FOR HEARING FOR THIS MORNING. I DID RECEIVE THE

                           ^    OPPOSI.TION, AND I HAVE THAT. I THEN HAVE THREE MOTIONS BROUGHT

                           5    BY MATTEL; THE MOTION REGARDING THE SEPTEMBER 28, 2000 [SICK                                 3-p.1^

                           6    DISCOVERY MASTER'S ORDER; THE SECOND MOTION IS A MOTION

                           7    REGARDING THE AUGUST 27, 2007 COURT ORDER; AND THEN FINALLY, WE

_.                 _^_.^_8.. .-HA:V^^-^iE^ MOTION BROUGHT.. BY..M^,T-3'E3,; --BAS•ICAL-L-Y--THN"--C-LA-RI^`IGATi^ON--- - .. ____..

                           9    ORDER, OR REQUEST FOR A CLARIFICATION ORDER, IN TERMS OF WHAT

                          10    THE DISCOVERY MASTER HEARS AND DOESN'T HEAR REGAi-ZDING THE THIRD                            1^0:1^

                         11     PARTIES.

                          12                  I HAVE DOWN HERE IN MY NOTES THAT 'JUDGE INFANTE

         -,. ^,•          13    HEARS ALL DISCOVERY MOTTONS^.'

                          14                  IN ANY EVENT,•THAT'S WHAT'S BEFORE ME AT PRESENT.

                          15                  FIRST OF ALL, IS-THERE ANYTHING ELSE THAT IS BEFORE                            ao:l^

                          16    THIS COURT THAT I'M NOT AWARE OF?

          ^,              3.7                 MR. QUINN:       NOT THAT WE KNOW OF, YOUR HONOR.

                          16                  MR. NOLAN:       NOT THAT WE'RE AWARE OF.

                          19                   THE COURT:      VERY WELL.

                          20                   SO THOSE ARE THE FOUR MATTERS THAT I WANT TO TAKE UP.                         ^.o:^^

                          27.                  LET ME TAKE UP THE MOTIONS FIRST, AND THEN I'LL TAKE

     .                    22    CARE OF THE EX-PARTE, JUST TO DEAL WITH THEM IN THE

                          23    CHRONOLOGICAL ORDER THAT I'VE RECEIVED OR REVIEWED 'PREM.

                          24                   THE FIRST MOTION THAT I'LL TAKE UP -- IT'S DOCKET

                          25    ENTRY NUMBER 1.34; IT'S THE MOTION REGARDING THE SEPTEMBER 2$,                               ^.o:^^
                                                                                            ^^^^^^^^

                                                                                          ^^^ _._W_._^__.._
                                      JANUARY 7, 200$                              BRYANT VS. MATTET.
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                 1    2007 DISCOVERY MASTER ORDER. I BASICALLY DIVIDED TIiIS INTO TW O
<.
^:::_..:
                 2    PARTS.   WHAT I'M GOING TO DO IS GIVE YOU MY TENTATIVE THOUGHTS

                 3    ON IT, AND THEN I`LL CERTAINLY ENTERTAIN WHATEVER ORAL ARGUMENT

                 4    COUNSEL WISHES TO MAKE AFTER I`VE GIVEN MY THOUGHTS.

                 5               THE FIRST PART OF THIS ORDER THAT I'VE CONSIDERED IS                    ^p:^^

                 6    THE REQUEST TO EXTEND OR PROVSDE ADDITIONAL TIE FOR MATTEL TO

                 7    DEPOSE CARTER BRYANT. THE COURT IS MINDFUL OF THE STANDARD OF

               _$- _.REST_TE^d_0^-TI3E--DZ.SGO^RY--MAHTER-'-S-0^t^DERS;--A^iD---TN-^^~CHI'--0^ T-H^-____- -----

                 9    STANDARD OF REVIEW, THE COURT IS DISINCLINED TO EXTEND THSS

               10     TIME ANY FURTHER . ^                                                                z a . 3.9

               11                 THAT IS NOT TO SAY THAT ZF I WAS OPERA^'ING WITH A

               12     CLEAN SLATE THAT I WOULD NOT BE PERSUADED BY MATTEL'S ARGUMENT

               13     THAT THE AMOUNT OF TIME TO DEPOSE CARTER BRYANT SHOULD NOT HAVE
      ..
               1q     BEEN LONGER TO BEGIN WITH,^BUT THE^STANDARD HERE IS WHETHER OR

               ^.5    NOT THE LEGAL FINDINGS BY THE DISCOVERY MASTER, BY                                  10:19

                1b    UUDGE INFANTE, WERE CLEARLY ERRONEOUS OR WHETHER^THERE WAS ANY

                ^.7   CLEAR FACTUAL ERRORS.

                18                THERE'S NO DISPUTE, Z DON`T THINK, IN TERMS OF ANY

                19    FACTUAL FINDINGS THAT THE DISCOVERY MASTER MADE, AND THERE'S

                20    NOTHING CLEARLY ERRONEOUS ABOUT ,HIS LEGAL CONCLUSION; SO IN THE                    ^o:a^

                2I    ABSENCE OF THAT, ,MY TENTATIVE IS NOT TO DISTURB THAT FINDING.

                22                WITH RESPECT TO T^-IE OTHER DISCOVERY REQUESTS, I GUESS

                23    I'M MORE INCLINED TO 'GRANT^SOME LEAVE TO MATTEL TO OBTAIN SOME

                24    ADDITIONAL DISCOVERY.        I FEEL THAT A COMBINATION OF EITHER THE

                25    STAYS THAT WE IMPLEi^ENTED IN THE LATTER PART OF LAST YEAR,                         1p:1^

                                                                          ^^^^^^^^

                                                                         ^^^a ^      ^
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                                       ^,.....
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  ,-                 1   COUPLED WITH DELAYS -- AND I'M NOT TRYING TO SUGGEST THAT

                     2   ANYONE DYD ANYTHING WRONG HERE; T'M SIMPLY SUGGESTING THAT

                     3   THERE APPEAR TO HAVE BEEN DE^.AYS IN THE PRODUCTION OF SOME

                     4   DISCOVERY AND THE TIMING OF THE DISCLOSURES, AND THE TIMING OF

                     5   THE PROVIDING OF THE DISCOVERY -- THAT MAY, IN FACT, WARRANT                                           1p:'

                     6   THE LEAVE THAT MATTEL IS SEEKING WITH RESPECT TO THAT

                    ^7   ADDITIONAL DISCOVERY.

^...__w_._^.... _.. _-g-_ -___-.-,.__--__-- -.__--AF3^E^t-^WA-DING^-HItflUGH THE^A^ER-IAT^,S---SUSM^-T^-^33- TC3-^^HE- ---- -----...

                     9   COURT, THAT'S MY INITIAL SENSE OF THIS FIRST MOTION. -

                   lfl                   SO LET ME HEAR FROM WHOMEVER WOULD LIKE TO SPEAK AT                                    ^o::

                   11    THIS POINT.                                 -

                   12                   MR. QUINN, IT'S YO^TR MOTION.                   YOU MAY ^'ROCEED FIRST_

  ^^ - . -^         13                  MR.      QUINN ;   THANK YOU, YOUR HONOR.

                   14                    SF I COULD, PERHAPS, YOUR HONOR, BEGIN WITH THE

                   15    REQUEST FOR ADDITIONAL DISCOVERY OTHER THAN THE ADDITIONAL TIME                                        zo:i

                   16    FOR THE BRYANT DEPOSITION WHERE THE COURT HAS INDICATED SOME

                    17   WILLINGNESS TO GIVE FAVORABLE CONSIDERATION TO THAT REQUEST.

                    1$                   WHEN YOU START ANY CIVIL LITrGATION, INCLUDING WHAT

                   ^19   WAS OBVIOUSLY FROM THE BEGINNING A BUSxNESS LITIGATTON^CASE

                    20   WHICH WAS HOTLY CONTESTED, WHERE SUBSTANTIAL AMOUNTS WERE AT                                           10:x.

                    2I   ISSUE, IT'S UNDERSTANDABLE THAT STILL ONE WOULD TRY TO SET

                    22   LIMITS ON WHAT THE SCOPE OF DISCOVERY WOULD BE FROM THE OUTSET.

                    23   IT'S IN THE PARTIES' INTEREST, AND IT'S OBVIOUSLY IN THE

                    29   COURT`S INTEREST, AND I THTNK,EJNDER THE FEDERAL RULES, THE

                    25   COURT OBVIOUSLY HAS A DUTY TO TRY TO DO THAT. AND THE COURT                                            a.a:1
                                                                                         ^7(H18f^'           -3
                                                                                         ^^^^               f^
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                                                                                                 9



f.              1    INITIALLY DID THAT AND SET A LIMIT OF 24 DEPOSITIONS PER SIDE.

                2              AT THE TIME, WE RAISED AN .ISSUE THAT WE DIDN'T THINK

                3    THAT WAS GOING TO BE ENOUGH, BUT, WELL ENOUGH, THE COURT SAID,

                4    LET'S SEE WHAT YOU CAN D0; I DON'T WANT TO SAX THOSE ARE SOFT

                5    NUMBERS, BUT LET'S SEE WHAT CAN BE DONE.                  -                      zo:7

                6              IF WE STAND BACK AND LQOK AT WHAT THIS CASE IS NOW

                7    AND WHAT IT'S BECOME, THERE ARE THREE SORT OF MAJOR PARTS TO

-..- .-.__--'8^ ^T^: ^'HE^^E`IRHT-^A"RT-;--THE _-PHASE-ONE,--WHAT-T3AB-^OTIV-BEEN"$ET__rTP_.^_._ __....

                9    FOR THE PHASE-ONE TRIAL, RELATES T4-THE ORSGIN OF BRATZ AND                         -

              10     CLAIMS FOR DAMAGES OR RESTITUTION OR DISGORGEMENT ARISING OUT                    xo:i

              T1     OF THAT, WHICH, IT'S ALLEGED, RUN IN THE BILLIONS OF DOLLARS.

               12    THAT'S SORT OF THE FIRST THIRD.

`^   ^        13               THE SECOND THIRD, WE HAVE MGA'S COUNTERCLAIM, WHICH

              14     REALLY ADDRESSES A WHOLE HOST OF DIFFERENT KINDS OF ISSUES IN

              15     CONDUCT, ADVERTISING, COMMUNICATIONS WITH LICENSING BODIES,                      ^o:a

               I6    WHICH PUTS IN ISSUE, BY MGA'^ ACCOUNT, SOME 200 DIFFERENT

              17     PRODUCTS AND .CLAIMS WHICH MGA SAYS AMOUNT TO BILLIONS OF

               18    DOLLARS WORTH OF CLAIMS; SO; THAT'S SORT OF THE SECOND THIRD.

               I9              THE FINAL THIRD IS THE CLAIM THAT -- WHEN WE ----

              20     MATTEL AMENDED ITS COUNTERCLAIM BASED ON EVENTS THAT HAD                         X0:1

               21.   HAPPENED OR HAD COME TO LIGHT SINCE THE CASE WAS ORIGINALLY

               22    FILED, THE TRADE THEFT CLAIMS, THE TRADE THEFT CLAIMS RELATING

               23    TO EVENTS IN MEXICO, WHERE, IN FACT, THERE HAD BEEN ARRESTS AND

               24    CRIMINAL PROCEEDINGS SIMILARLY IN CANADA, AND WE ALLEGED

               25    SIMILAR CONDUCT IN THE UNITED STATES, WHICH RAISED A WHOLE HOST                  xo:^.
                                                                    ^^^^^^IF

                                                                                                 ..
                         JANUARY 7, 2008                      RRYAT^T7' arc        turnmm^r
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                                                                                                                  IO



='-               1    OF OTHER ISSUES, MOST OF WHICH ARE, PERHAPS, UNRELATED TO BRAT Z

                  2    ITSELF BUT ARE TRADE SECRET THEFT ISSUES.

                  3                  EACH OF THOSE THREE PARTS .OF THIS CASE, YOUR HONOR,

                  4    THEMSELVES, ARE VERY, VERY SUBSTANTIAL CASES WHERE VERY, VERY                                   ^^

                  5    SUBSTANTIAL AMOUNTS OF MONEY :ARE ALLEGED TO BE AT ISSUE; SO WE                                 10:7

                  6    STARTED OUT WITH SORT OF A HORSEBACK ASSUMPTION: LET'S SEE IF

                  7    WE CAN GET IT DONE IN 29 DEPOSITIONS A SYDE.

            -^--^---.g- ---------_^ ____TN...'^1iI-S-^^`A^E; -^iIA'P^-^HA^--BOTi^S--D©WN-^^.'O; -'WHEN; - ^^ r---FOR -. ^-._

                  9    EACH OF THOSE THREE MAJOR PARTS OF THIS CASE, THAT'S EIGHT

                 10    DEPOSITIONS PER CASE. AND I^SUBMTT, YOUR HONOR, THAT                                            10:1

                 11    CONSCIENTIOUS LAWYERS, TRYING TO DO A GOOD JOB A1^ID USING THE

                 12^   TOOLS AVAILABLE UNDER MODERN FEDERAL DISCOVERY, SIMPLY COULD

^ti^=`;          13    NOT ADEQUATELY PREPARE ANY 'OF THOSE CASES WrTH SIMPLY EIGHT

                 1q^   DEPOSITIONS.

                 15                  IF THE COURT SAID, REALLY, I'M NOT INCLINED TO BUDGE                              10:1

                 16    FROM THAT, WE'D HAVE A VERY, VERY DIFFERENT KIND OF TRIAL, I

                 17    SUGGEST, THAN WHAT WE USUALLY HAVE IN FEDERAL COURT TODAY. IT

             .   18    REALLY WOULD BE WITHOUT THE BENEFIT OF THE FULL ^XPLORATTON OF

                 19    THE ISSUES UNDER MODERN DISCOVERY RULES; SO T THINK IT'S PRETTY

                 20    CLEAR THAT THERE DOES NEED TO BE SOME RELIEF FROM THOSE LIMITS.                                 16:2

                 21                  AND WHEN WE LOOK AT MGA'S EX-PARTE APPLICATION, I

                 22    THINK WE'RE GOING TO SEE -- ALTHOUGH IT DOES RAISE SOME

                 23    SLIGHTLY DIFFERENT ISSUES, I 'THINK MGA IS ALSO FEELING THE

                 24    PRESSURE HERE OF TRYING TO GET DONE EVERYTHING `T'HAT THEY

^^.   ^          25    BELIEVE NEEDS TO BE DONE IN ORDER TO PROPERLY PREPARE THIS                                      10.z
                                                                                   E^FI I BIT
                                                                                   PA^^          ^o
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                                                                                                              11



 - .           1    CASE.                .                                                 .
, :-.
               2                  I'HE COURT:      BUT DISCUSS FOR A MOMENT, IF YOU WOULD,

              ^3    THE IMPACT YOU SEE THSS HAVING ON THE COURT'S CALENDAR IN THIS

               4    MATTER IN TERMS OF SCHEDULING OF THE TRIAL. BECAUSE WE WENT.

               5    DOWN THIS ROAD A LITTLE BIT AT SHE END OF LAST YEAR, AND IT WAS                                i0^2

               6    REALLY APPARENT THAT IF.I BUDGE FROM THE TRIAL DATES, i OPEN UP

               '7   A PANDORA' S BOX IN TERMS OF SCHEDULING ISSUES . I iKEAN, A

--------------^- ^-NUMB^iR--0F -P^EOPirE- AR-E--3N^`OLVE^.3--i^N-THIS--fi^-IiNG . --T^i^E--Zi^EA-_.'C7F^^----- -.-. ----^

               9    TRYING TO COME BACK TOGETHER ON A DATE THAT WORKS IS GOING TO

              10    BE HARD .                                                                                      10:2:

              1^.                 MR. QUI^IN:       RIGHT.      AND WE ARE NOT ASKING THE COURT

              J.2   TO CHANGE ANY OF THE SCHEDULE IN .ANY RESPECT,

  ^^^'        13                  THE COURT':       BUT I DON'T WANT TO BE UNREALISTIC

              14    EITHER.      i MEAN. IF I DO WHAT YOU'RE .ASKING IN TERMS OF

              15    DISCOVERY AND TF I DO WHAT THE DEFENSE IS ASKING IN TERMS OF                                   10:2:

              16    THEIR EX-PARTS APPLICATION; I HAVE REAL CONCERI^l'S ABOUfi T^iE

             -17    CONSEQUENCES THAT WILL HAVE FOR.THE DISCOVERY. CUTOFF DATE WHxCH

              ^.8   IS LATER THIS MONTH.

              ].9                 MR. QUTNN:        LAWYERS WOULD BE WORKING VERY HARD. MOST

              20    .OF THE DEPOSITIONS THAT WE'VE IDENTIFIED, THAT WE'RE ASKING                                   10:2]

              21    FOR, YOUR HONOR, RELATE TO PHASE TWO; SO THAT DISCOVERY CUTOFF

              22    DATE RELATES ONLY TO PHASE ONE. FEET. TO THE FIRE, GUN TO THE

              23    HEAD, IT'S CONCEIVABLE THERE WOULD BE DOUBLE -- TRIPLE--TRACK

              24    DEPOSITIONS.

              25                   BUT IF WE NEED TO STICK WITH THE CURRENT DATES -- AND                            10:2]
                                                                                ^^^^^^^^

                                                                                PA^^           a^
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      •-               1   WE'RE MINDFUL OF WHAT THE COURT HAS SAID BEFORE ABOUT DATES,
 f^         .

      -                2   ALTHOUGH I WILL POINT OUT THAT WHEN WE HAT)^THE STAY, WE DID

                       3   LOSE A WEEK. fiHE COURT STAYED MATTERS FOR -- I THINK IT WAS A

                       4   HARD STAY-OF TWO WEEKS AND A SOFT STAY OF A WEEK, WHATEVER IT

                       5   WASH AND THEN THE COURT WENT BACK AND SLIPPED THE DISCO'VE'RY                                                              1.0;2

                       &   DEADLINE TWO WEEKS, AND WE LOST ONE WEEK THERE. .SO MAYBE THE

                  •    7   FACT THAT S'M EVEN BRINGING THAT UP SUGGESTS THAT THERE'S

.. ^----- •-- - -__.._..-^-^--8•--- - SOME^T'-HI^Cs- T{-^- W^]'AY`- T^•IE--COURfi-Y^ : _--_---- --_^.-^ .__-----.__---- _----- - --- -- --_^...__-^-- -----^

                       9                     AND Z DON'T MEAN TO SUGGEST THAT IT WOULDN'T BE A

                      10   DAUNTING SCHEDULE, BUT MY EXPERIENCE IS, LAWYERS, WHEN G3VEN                                                               ^o:z:

                      11   DEADLINES -- AND THERE'S A CERTAIN AMOUNT OF WORK THAT NEEDS TO

                      12   BE DONE, YOU WORK TOWARD THOSE DEADLINES, AND TO BE SURE, WE'D

 ^_°^; -^ ^ ^^        13   HAVE TO WORK VERY HARD, BUT' I THINK IT COULD • BE J^ONE .                                                        •

                      i4                     MOST OF THE DEPOSITIONS RELATE TO PHASE TWO MA`^TERS.

                      15   SEVERAL OF THEM, YOUR HONOR ■ ARE PURELY HOUSEKEEPING ISSUES.                                                              10:2


                      16   FOR EXAMPLE, CARTER BRYANT SAYS HIS INSPIRATION FOR THE BRATZ

                      17   DOLLS WAS HE WALKED BY KICKAP00 HIGH SCHOOL IN•A^SMALL TOWN IN

                      1$   MISSOURI ONE DAY, ON THE WAY HOME FROM WORK, OR DROVE HY IT,

                      19   AND HE SAW THE KIDS AND THEY HAD THIS SORT OF ETHNIC KIND OF

                      2Q   BRATTY ATTIRE AND BEHAVIOR THAT HE SAYS WAS THE INSPIRATION FOR                                                            x.0:2;

                      21   HIS DOLL.

                      22                      WELL, ^FE`VE GOTTEN THE YEARBOOK FROM KICKAPOO HIGH

                      23   SCHOOL THAT YEAR, SO WE CAN SEE HOW THE KIDS DRESS, WE CAIN SEE

                      29   WI-^AT THEY LOOK LIKE, AND WE CAN SEE HOW URBAN THEY WERE. SO WE

  ^•^                 25   ASKED MGA, WILL YOU STIPULATE THAT THIS IS AN AUTHENTIC COPY OF                                                            Zo:z^
                                                                                                          ^^^^^^^

                                                                                                          PAGE        ^       ^^--
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                                        ^^.
                                        ^^^.
                                                                                                                 I3



                     1    THE YEARBOOK? WE MAI}E THIS REQUEST A MONTH AGO.: WE HAVEN'T

                    2     HEARD AN ANSWER ON THAT. MAYBE THEY ULTIMATELY WILL; MAYBE

                     3    THEY WON'T.          BUT ONE DEPOSITION ON OUR LIST IS THE DEPOSITION

                     4    OF A DOCUMENT CUSTODIAN OF KICKAPOO HIGH SCHOOL,^.THE SOLE

                     5    PURPOSE OF WHICH, YOUR HONOR, IS TO ESTABLISH THAT THIS IS AN                               10:2:

                     6    AUTHENTIC COPY OF THE YEARBOOK.

                     7              AND I DON'T WANT TO SUGGEST THAT THIS KIND OF THING

.____-.._--.---.--8-- -ONIrY -GOES-ONE-WAY., °• .YOUR -HON4i^ ^ ----`i'HI^--I--s--^ -C^-^--WHE-I^E`-- ^^ER3^ -          _ . _.,

                     9    FACT, IT SEEMS, IS DISPUTED, THEY CHIDE US IN THEIR PAPERS FOR

                   ].0    TAKING THE DEPOSITIONS OF REPORTERS WHO QUOTE MR: LARIAN, THE                               ao:2:

                   lI     FOUNDER AND CEO OF MGR, GIVING AN ACCOUNT OF THE ORIGIN OF THE

                   ^.2    BRATZ DOLL WHERE HE SAYS, 'I HAD A CONTEST, AN IDEA CONTEST,

-^..^,             13     AMONG MY EMPLOYEES, AND THIS^WAS THE WINNING SUBMISSION.'
L


                   14                WE TOOK MR. LARIAN'S DEPOSITION AND SAID, 'IS THAT

          -       ^ ^.5   TRUE?'   COULDN' T GET A STRAIGHT .ANSWER.             ASKED FOR A .                        x0:2

                   16     STIPULATION.          COULDN'T GET A STRAIGHT ANSWER. SO WE TOOK THE

                   ^.7    DEPOSITION OF THE REPORTER. 'THE SOLE PURPOSE. OF^THAT

                   1$     DEPOSITION WAS, 'IS THIS WHAT MR, LARIAN TOLD YOU?' WE IiAD TO

                   I9     DO THAT, OBVIOUSLY, IF WE'RE GOING TO HAVE THE EVIDENCE AT

                   20     TRIAL.   AND ACTUALLY, THEY THEN CROSS_EXAMINED THE REPORTER FOR                            10:2


                   21     MUCH LONGER -- I MEAN, I THINK OUR EXAMINATION WAS A HALF HOUR.

              .    22     THEY THEN CROSS-EXAMINED THE^REPORTER FOR MUCH LONGER.

                   23                   SIMxLARLY, THERE WAS ANOTHER REPORTER -- THERE`S BEEN

                   24     VARIOUS ACCOU^3TS IN THE PRESS WHERE MR. LARIAN HAS BEEN QUOTED

                   25     ABOUT THE ORIGIN OF BRATZ -- THERE WAS A SIMILAR DEPOSITION                                 10:2

                                                                                   EXNlBIT
                                                                                  PA^^            ^^
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                                                                                  `.^
                                                                                                              14


                    1       WITH .ANOTHER REPORTER.          THE COURT WILL SEE ON THIS LIST TWO

                    2       OTHER REPORTERS WHO WE`D LIKE TO DEPOSE.

                    3                     THERE AREN'T REPORTER SHIELD L'ROBLEMS.            IT"S JUST,

                    4       `MADAM REPORTER, IS THIS WHAT MR. LARIAN TOLD YOU,` OR 'IS THIS

                    5       WHAT THE MGA REPRESENTATIVE TOLD YOU.'                                                 10:2

                    ^                     THE COURT:       WHY DON'T YOU ADDRESS THE ISSUE THAT I'M

                    7       DISINCLINED TO GRANT, AND THAT'S THE CARTER BRYANT DEPOSITION.
                   -8-- _ ------    ------ •^R..._QUINN                                           -
                                                          -}KAY :

                    9                     A FOOTNOTE, YOUR HONOR, ON THE INTERROGATORIES ----

                  ^. fl                   THE COURT ;      YES .

                  11                      MR. QUINN:       -- WE'RE LIMITED TO 50. THESE RELATE TO

                  12        CONTENTION INTERROGATORIES SERVED LAST MARCH; SO IT'S GARDEN
                                                                        3
   ">e;-.
:„^^^'°^^•        13        VARIETY, STATE ALL FACTS, IDENTIFY ALL fniITNESSES .

                  19                      THE COURT:       I'M AWARE OF THAT.

                  3.5                     MR. QUINN:       NOW, MR, BRYANT, .AGAIN, HE" S                          10:2

                  16        IDENTIFIED -- IF WE GO BACK TO THE TRI-PART DIVISION OF THE

                  17 .CASE --

                  1$                      THE COURT:       AGAIN, DON'T FOCUS ON THE NEED, BECAUSE

                  ^.9       I'M PROBABLY WITH YOU ON THE NEED TO DO S0.

                  20                      MR. QUTNN:       YOUR HONOR, WITH RESPECT TO                    -        ^. o: 2

                  2S        JUDGE INFANTE, I THINK HIS RULING THAT NINE ADDrTIONAL HOURS

                  22        ARE ADEQUATE TO PROPERLY EXPLORE MR. BRYANT'S KNOWLEDGE WITH

                  2S        RESPECT TO THE OTHER TWO-T^tIRDS OF THE CASE IS SIMPLY -- I

                  29        BELIEVE THAT IS ERRONEOUS, YOUR HONOR.
    ^^ -
' ^ ..            25                       THE COURT :     AS A MAT TER OF LAWyy?tt^g i1 t                         10:2




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                             \.-.. ^
                                                                                                              15


        ^.                  MR. QUINN :      I WOULD SAY S0.

        2                   THE COURT:       HOW?                                               .

        3                   MR. QUINN :      THERE ARE SOME -- I MEAN, WHAT ARE THE

        4     FACTS THAT WE KNOW?

        ^                   THERE ARE SOME 200 PRODUCTS, BRATZ PRODUCTS, AT                                         fl;2

        6     ISSUE, MGA SAYS. THEY SAY THAT HE'S ONE OF TWO PEOPLE WHO HAS

        7     UNIQUE KNOWLEDGE-AS TO ALL OF THOSE PRODUCTS. JUST ON THE FACE
  .,.__^g_
             ^.F,_^T^_-_YDUK--HDNOft,-.NO_REASON'ABI^I^YWY^i^f-T---•^IH^MI^`;----C4Ui;D--------------= ------_.

        9     REASONABLY CONCLUDE THAT THAT'S ADEQUATE TIME IN WHICH TO

      10      EXAMINE HIM ON THAT SCOPE OF^ MATERIAL.                                               ^     ^        x{3:2

      ^-^-                  THE COURT:       I UNDERSTAND YOU DISAGREE THAT THAT'S NOT

      12      ENOUGH TIME.

      13                    MR. QUINN:       RIGHT...

      14                    THE COURT:       BUT AS A MATTER OF LAW, WHEN

      15      JUDGE INFANTE LOOKED AT THIS; HE HEARD, PRESUMABLY, ALL OF                                           10.2

      16      THESE ARGUMENTS, AND HE CONCLUDED THAT IT WAS.

      17                    I DON'T KNOW HOW I, AS AREVIEWING-COURT, AT LEAST

      18      WITH RESPECT TO THIS ISSUE, CAN SAY THAT AS A MATTER OF LAW,

      19      THAT THAT WAS AN INCORRECT OR LEGALLY UNSOUND FINDING,

      20                    MR. QUINN: IT WOULD BE MY UNDERSTANDING, YOUR HONOR,                                   10:2

      2^.     THAT AT SOME POINT, IF A ---^

      22                    THE COURT .      CERTAINLY, AT SOME POINT.

      23                    MR. QUINN: I WOULD REFER THE COURT BACK TO THE

      24      HEARI^iG WE HAD LAST SUMMER WHERE JUDGE INFANTE HAD ENTERED AN

      25      ORDER, BEFORE THE SKADDEN ARPS FIRM WAS INVOLVED AND THE                                             x.0:2
                                                                  ^
                                                                     ^X^^ ^ ^I^        ^,,,,L.,.-..._,._.__
                                                                     PAG ^           ^-                 "_._^
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                                                                                                                     76.


                      1        O'MELVENY FIRM WAS INVOLVED, REQUIRING MGA TO PRODUCE DOCUMENT S

                      2        BY A CERTAIN DATE. I THINK IT WAS THE END OF JUNE OR THE FIRST

                      3        OF JULY, AND THEY WERE IN HERE SEEKING RELIEF FROM THAT, SAYING

                      4        THAT 'WE CAN'T DO TT.'

                      5                      AT THAT TIME, THIS COURT LOOKED AT THAT AND SAID,                             1.o:z

                       6       '.WELL,   I THINK SOME ADDITIONAL TIME IS APPROPRIATE,' AND I

                      7        BELIEVE GAVE THEM AN ADDITIONAL TWO WEEKS OR 30 DAYS. I
                     ._^.^.
                              ^'RANKI^Y._DON'^T"--RECALZ`^WHA-T__iT^-fn7A5..._...._WE-DI.DNi^.'_^TRI.P_^.OVER-^^HE--`^--

                       9^      I55UE ABOUT WHETHER THE THEN-DEADLINE OF JUNE 30TH OR JULY 1.ST

                     I0 'WAS A CLEARLY ERRONEOUS DEADLINE OR NOT, IT SEEMED LIKE THE                                       10:2


                     11        ,APPROPRIATE THING TO DO TO THE COURT, AND THE COURT GRANTED

                     ^2        SOME ADDITIONAL TIME.

r^. ^: -. ^'^        13                      I MEAN, i THINK THIS IS AT LEAST .A COMPELLING CASE,

                     14        GIVEN THE CENTRALITY OF THIS WITNESS TO ALL OF THOSE ISSUES ON

                     15        THE OTHER TWO-THIRDS OF THE CASE, YOUR HONOR.                                               30:_2


                     16                      I GUESS THAT`S THE BEST I CAN RESPOND ON THAT.

                     17                      THE COURT:       VERY WELL.       THANK YOU,.MR. QUINN.

                     18                      MR. NOLAN?

                     1.9                     MR. NOLAN:       YOUR HONOR, WOULD YOU PREFER TO HEAR FROM

                     20        CARTER BRYANT COUNSEL WITH RESPECT TO THAT FIRST^ISSUE?                                     10:2


                     21                      THE COURT:       I WILL LEAVE THAT UP TO YOU.

                     22                      MR. NOLAN:       WHY DON'T WE DO TIiAT, AND THEN I'LL

                     23        ADDRESS THE SECOND PART.

                     24                       THE COURT:      VERY WELL.

                      25                     MS. ANDERSON:         THANK YOU, YOUR HONOR. JUST.BRIEFLY.                    1a:a
                                                                                      ^H^BIT            ^

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                                                                                                                            17


 r-                ^.                   WE FULLY AGREE WITH THE COURT. AND THE REASON THAT

                  2     MATTEL'S OPENING MOTION, IN WHICH IT SOUGHT ADDITIONAL TIME

                  3     WITH MR. BRYANT, DIDN'T ADDRESS THE GOVERNING STANDARD THAT'S

                  4     BEFORE YOUR HONOR IN TERMS OF REVIEWING JUDGE TNFANTE'S RULINGS

        .         5     IS BECAUSE THEY COULDN'T .                                 ^                                             10 : 2:

                   6'                   Ti3E COURT :. ADDRESS THIS LAST POINT THAT MR. QUINN

                  7     MAKES, THAT THIS KIND OF ALMOST INTERNAL CONSISTENCY IF THE

--__-            -^$--- --COL^]R^•--DID-GR-AN'I' -A-F^;W--EX^T-RIB-WE^EI^^S--^-BAGK--I^-T--^Ui^4E^IER ..__.^----.---^___-__.._. ^.._._

                  9     CERTAINLY DON'T HAVE THAT BEFORE ME RIGHT NOW. BUT I'M

                 ].0    STRUGGLING TO COME UP WITH A LEGAL JUSTIFICATION FOR DOING SO                                            10':2

                 11     IN LIGHT OF THIS STANDARD.

                 12                     MS. ANDERSON :          YOUR HONOR, FIRST OF ALL, I DON'T HAVE

(^ -             1'3    ANY PAPERS BEFORE ME ABOUT WHATEVER THIS PRIOR RULING WAS, AND

                 T4     I THINK, EVEN zF THE COURT DID GO SOMEHOW BEYOND ITS AMBIT IN A

                 IS     PRIOR RULING, WHICH T DO NOT KNOW EVER HAPPENED, THAT DOESN`T                                            1o:z

                 16     JUSTIFY THEN COMPOUNDING THE PROBLEM AND DOING IT HERE.

                 17                     THE COURT:          TWO WRONGS D0N'T MAKE A RIGHT.

                 16                     MS. ANDERSON :           INDEED.

                 19                     AND I SUBMIT, YOUR ii0N0R, ^ KNOW THAT MATTEL HAS

                 20     PLENTY OF ARGUMENTS WHY THEY BELIEVE MR. BRYANT SHOULD SIT FOR                                           10:2

                 21     THREE ADDITIONAL DAYS OF DEPOSITION AFTER HAVING ALREADY SAT

                 22     FOR- THREE.        BUT I SUBMIT, THE FINDINGS THAT JUDGE INFANTE MADE,

                 23     INCLUDING THE FACTUAL FINDING ABOUT HIS ASSESSMENT OF WHAT THEY

                 24     WERE GOING TO DELVE INTO IN THIS DEPO, THIS IS ALL REHASHING OF

                 25     STUFF THEY'VE HAD AMPLE OPPORTUNITY TO COVER. NINE HOURS IS A                                            10:3

                                                                                       ^,KH{Bl^           -^                _

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                                                                                                              Z8



                        ^.     LONG TIME THAT THEY WILL HAVE WITH MY CLYENT, YOUR HONOR.

                        2                   THE COURT:    THANK YOU, COUNSEL.

                        3                  MS . AN33ERSON :   THANK YOU .

                        4                   THE COURT :   MR. NOLAN?

                   .    5                  MR. NOLAN :     THANK YOU.                                              1a:3:

                        6                  YOUR HONOR, I WOULD BE REMISS IF T DID NOT START OUT

                        7      BY SAYING THAT LAST EVENING, ONE OF THE. LAST THINGS I READ ZN

-.-_-.. _--.--__.._._.._$_    -Q&EP,AR.ING-FOR._ THE- HEARING--^'H^GS._I^O1^TI.NG^AS-TH`E-LaCTOBER-.3-1^T.-    --- --.----.

                        9      TRANSCRIPT.     WHEN T WAS HERE, I WAS JUST KIND OF NEW TO THE

                       10      CASE AND SAYING WE NEEDED JUST A BRIEF STAY UNTIL JANUARY 15TH                      ^0:3^

                       11     .FOR THE DEPOSI^'IONS.      AND MR: QUINN PROPERLY POINTED OUT THAT

                       12      WE'RE A BIG FIRM; ALL FIRMS KIND OF PARACHUTE IN; BASICALLY,

                       13      SUCK TT UP AND GET READY.
t;^. ^' ^                                                                                                            -

                   ^14                      I HAVE TO TELL YOU, YOUR HONOR, THAT WE HAVE DONE

                       15      THAT, AND THE NATION THAT THERE'S BEEN ANY DELAY; T THINK, IS                       a.o:s

                       16      JUST BELIED BY THE^ACTUAL FACTS. IF I COVLD JUST TELL YOU A

                       17      LITTLE BTT ABOUT WHAT WE'VE T3EEN DOING TO GET THIS CASE READY,

                       1$      AND THEN COME UP WITH A PROPOSAL FOR YOU. WITH RESPECT TO THE

                       19      DISCOVERY REQUEST.

                       20 ,                 FROM THE BEGINNING OF TxME IN THIS CASE --- AND QUINN                  io; 3

                       21      HAS BEEN THERE FOREVER -- THERE' S BEEN 4, 600 REQr;^STS FOR

                       22      ADMISSIONS; 2,865 REQUESTS FOR PRODUCTION; 131 30 (B}^6) TOPICS;

                       23      50-PLUS THIRD-PARTY SUBPOENAS; 63 INTERROGATORIES.                 WE'VE

                       29      PRODUCED, MGA HAS PRODUCED, YOUR HONOR, ABOUT.3.$ MILLION.

 f.                    25                    INTERESTINGLY, QUINN EMANUEL, WHO'S BEEN IN THIS CASE                 io:3



                                                      -                        PAGE           07^
                                    JANUARY 7, 2Ut38                         BRYAN'S VS. MATTEL
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                                             ^_:
                                                                                                                    19


            .              1    FOR FOUR YEARS, JUST RECENTLY, ON JANUARY 2ND AND JANUARY 4TH,

                           2    DOUBLED THEIR PRODUCTION, DROPPED ON US ABOUT A HALF MILLION

                           3    PAGES OF DOCUMENTS, WITHOUT ANY EXPLANATION AS TO WHY THESE

                           4    DOCUMENTS WERE NOT PRODUCED. WE'RE STILL GOING THROUGH THEM.

                           5                 SINCE WE'VE COME INTO THE CASE, SINCE SKADDEN CAME                          ^a:3


                           5    SNTO THE CASE AND MR. QUTNN DID NOT WANT TO GIVE THE RELIEF

                           7    THAT WE REQUESTED, WE WENT TO THE MAT, AS DID MGA, AT ENORMOUS

T -._ _ ^           -----^-- -EXPENSE :"^^VE-BROUGHT-IN ^AL-NIOST^-^50 ^AWYE^RS-.TTO.--3^EAL -'WiTH-_- __. __. __..___   _--

                           9    OUTSTANDING ISSUES.         WE'VE ANSWERED 2,584 REQUES'^S FOR

                          10    ADMISSIONS; WE'VE ANSWERED X01 INTERROGATORIES; WE'VE PRODUCED                           3.0:3,

                          I^    I.6 MILLION .PAGES IN DOCUMENTS. WE HAD TO FILE i7 OPPOSITION

                          12    BRIEFS TO MATTEL.

        •.^               13                  IF THERE'S ANY NOTION HERE, YOUR HONOR, THAT WE

                          14    DISAGREE WITH POSITIONS IN DISCOVERY, WITH ALL DUE .RESPECT,

                          15    MATTEL HAS WRITTEN THE BOOK ON THIS.                                                     1D:3


                          3.6                 THE COURT:      THAT'S WHY, MR. NOLAN, I WAS VERY CAREFUL

                          17    IN MY INITIAL REMARKS THAT I AM NOT SUGGESTING ANY FAULT

                          1.$   WHATSOEVER IN YOUR PRODUCTION PATTERN SINCE COMING INTO THE

                          19    CASE:     I'VE READ WHAT YOU'VE PRODUCED, AND I HAVE A SENSE THAT

                          20    YOU AND YOUR FIRM HAVE WORKED AS HARD AS HUMANLY•POSSIBLE TO DO                          10:3

                          21    WHAT YOU CAN.

                          22                  I GUESS MY TENTATIVE STEMS MORE FROM WHAT I PERCEIVE

                          23    AS THE GOOD CAUSE SHOWN FOR SOME ADDITIONAL DISCOVERY IN LIGHT

                          24    OF WHAT xS BEING PRODUCED, AND THE DELAY IN THE SENSE THAT IT'S

                          25    BEING PRODUCED NOW AS OPPOSED TO EARLIER. AND I'M NOT                                    10:3

                                     .                                          Ex^11^1T..
                                                                                PA^^          ^^
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                         ^.._
                                                                                               20


      ^.   SUGGESTING THAT IT NECESSARILY SHOULD HAVE BEEN PRODUCED

      2    EARLIER OR THAT YOU COULD HAVE 'PRODUCED IT EARLIER. IT'S JUST

      .3   A SIMPLE FACT THAT THERE ARE MATERIAL THINGS COMING TO LIGHT

      4    NOW THAT SEEM TO THE COURT TO PERHAPS JUSTxFY SOME ADDITIONAL

      5    DISCOVERY; SOME ADDITIONAL DEPOSITIONS, SOME ADDITIONAL                                  Zp:g.

      6    INTERROGATORIES, ET CETERA.

      7                  SO YOU DON'T. NEED TO CONVINCE THE COURT, BECAUSE YOU

     ^ -^3AVE-°A^RE^Y-^ON^T-iNC^D -TiIE--^^OI^Rfi..'^'I---YQU' VE-^E^^T--WORiri-NG----------.._. -._--.-

      9    EXTRAORDINARTT^Y HARD AND YOU`VE BEEN DOING ALL THAT YOU CAN:

     10    THE DISCOVERY IN THI5 CASE IS QN A SCALE THAT I PERSONALLY HAVE X0:3

     11    NEVER SEEN IN MY CAREER; SO TRAITS ESTABLYSHED.

     12                  MR, NOLAN :     OKAY. 'THANK YOU VERY MUCH; YOUR HONOR.

     13                  I JUST NEEDED TO SAY THAT FOR THE PEOPLE WHO HAVE

     14    BEEN WORKING AROUND THE CLOCI<. I PROMISED THEM I WOULD PUT

     1S    THAT PITCH IN.

     15    ^             THE COURT :     OKAY.     ^'A3R ENOUGH.

     17                  MR. NOLAN:      HERE'S THE POINT, THOUGH, YOUR HONOR, IF

     18    YOU READ THEIR PAPERS CAREFULLY, I WOULD RESPECTFULLY DISAGREE,

     19    I DON'T BELIEVE THAT 'THEY HAVE MADE A GOOD FAITH SHOWING THAT

     -20   ADDITIONAL DISCOVERY IS WARRANTED OR THAT THEY'RE SURPRISED BY                           X0:3

     21.   THIS OR THAT THEY WERE PREJUDICED IN ANY WAY BY ANY STAY OR

     22    SOFT STAY OR CONTSNUANCE FOR A BRIEF PERIOD OF TIME.

     23                  I THINK THE FACTS ARE QUITE CLEAR AND QUITE DRAMATIC,

     24    AND THAT IS, AT A TIME ---- TQ TAKE YOU BACK TO A 'T'IME WHEN' WE

     2S^   WERE NOT HERE; SO THE WORLD WAS AHEAD OF YOU ALL WHEN YOU SET                            ^o:^
                                                            ^^^^^^^

                                                            PAGE          ^c^
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                                          L..^-
                                                                                                         21


                     ^.       THE SCHEDULES.      MATTEL CAME IN ON THEIR DISCLOSURES IN JANUARY'
 i-.,
                     2        OF 2007 AND IDENTIFIED SOME 155 FACTUAL WITNESSES, 70 OF WHICH

                     3        THEY WANTED TO TAKE A PARTICULAR INTEREST IN. THEY PROPOSED AT

                     4        THAT TIME, WITH FULL KNQWLEDGE OF ALL OF THE ISSUES IN THIS

                     S        CASE, AND HAVING BOTH DISCLOSURES IN FRONT OF THEM, A TOTAL OF                  10:3.

                     6        50 DEPOSITIONS.

                     7                   NOWT I READ THE TRANSCRIPT, YOUR HONOR, AND WITH ALL
 - ----._..w...__._..__.^-
                             -D^ ^^ECT,^. -D-ON^'`'I'-          ^-1ND-YOUR CLERK --- ^ BECAUSE--^HE..^.-__ ^...---_

                     9        TRANSCRIPT REFLECTS THAT YOU CONSULTED WITH YOUR CLERK WrTH

                   10         RESPECT TO THIS, AND YOU CAME^OUT WITH A NUMBER OF 24. YOU                      l0_3

                   11         NEVER SAID THAT WAS JUST A HORSEBACK KIND OF ANALYSIS. YOU

                   12         SAID THAT THEIR NUMBERS WERE DISCONCERTING TO YOU. AND I

(^....--'^:        13         BELIEVE THE REASON WHY YOU SAID THAT IS BECAUSE, YOUR HONOR,

                   14         THAT ALTHOUGH THIS TS A LARGE CASE, THIS ISNiT THE LARGEST CASE

                   15        AROUND .                                                                         10 : 3

                   16                     I MEAN, MY GOSH, THIS CASE AND THE POSITIONS TTTAT ARE

                   17         NOW BEING TAKEN BY MATTEL,     WHERE THEY NEED 50 MORE ON TOP OF

                   ^8         THE 22 DEPOSITIONS THAT THEY'VE TAKEN, WHICH, WHEN YOU THINK

                   19         ABOUT IT, JUDGE, IS 22 MORE THAN THEY ASKED YOU FOR AT THE TIME

                   20         OF THE DISCLOSURE, WITHOUT A LOT OF NEW INFORMATION AVAILABLE.                  10:3

                   23.        I THINK. OF THE 50 WITNESSES THAT THEY'RE ASKING PERMISSION TO

                   22         TAKE, ONLY SIX NAMES ARE NEW. YOU DO THE MATH. THE OTHERS

                   23         WERE ALL IN THE DISCLOSURES.

                   24                     THE COURT:     WHAT ABOUT THOSE SIX NEVI WITNESSES?

                    25                    MR. NOLAN: IF THOSE SIX NEW ADDITIONAL WITNESSES ,                  10:3

                                                                       ^^^^^^^


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                                                                     ^^-
                                                                                                       22


       1    YOUR HONOR, RELATE TO PHASE ONE, I'M WILLING TO WORK SOMETHING

      2     OUT WITH THEM IN THAT REGARD. I'M NOT TRYING TO GUT THEM OFF

      3     AT THE KNEES AND SAY, 'LISTEN, TOUGH LUCK, YOU BLEW 29.' HE'S

       4    TALKING ABOUT HE HAD TO TAKE THE DEPOSITION OF A REPORTER TO

      5     JUSTIFY' SOMETHING.          i WASN`T INVOLVED IN THAT. I GUESS THE                               10:3

       6    SOFT ISSUE HE DIDN'T WANT TO G4 TO IS, WHY DID TtTEY TAKE

      7     CARTER BRYANT'S NIECE TO TALK ABOUT THE COMPUTER THAT WAS GIVEN

     --8   -^O--DER-i'^^-A-Gi-E'T^---BZ3'^---THAT-`^-^T^L--3^Y--^T^I;--^BAC^f--- =   -   --- --.-..----..--

      ^                   WHAT I'M INTERESTED IN, YOUR HONOR; IS TRYING THIS

     10     CASE ON A SCHEDULE THAT YOU^TOLD US TO GET READY FOR.                                             10:^

     11                   THE COURT:        I AM AS WELL.

     12                   Fem. NOLAN:      MAY I JUST MAKE A -- BECAUSE i THINK,

     13     FRANKLY, THINKING ABOUT ALL OF THIS LAST NIGHT, I HAVE A

     1q     PROPOSAL THAT, I THINK, ALLOWS THIS TO MAKES SENSE.

     15                   THE^COURT:        LET ME HEAR IT.                                                   1n:3

     16                   MR, NOLAN:        AND THxS IS NOT BEHIND CURTAIN ONE OR

     17     CURTAIN TWO OR CURTAIN THREE.

     18                   HERE'S WHAT I THINK MAKES ABSOLUTE SENSE, HAVING DONE

     19     THXS A LITTLE SiT MYSELF iN F3IG CASES BEFORE:

     20                   MOST OF WHAT THEY'RE ASKING FOR IS FHASE TWO STUFF.                                 10:3

     21     RIGHT NOW, IN FRONT OF US, WE'RE STARING AT A HARD CUTOFF OF

     22     JANUARY 28TH.         AND WE'LL LIVE WITH IT, JUDGE. WE CAN LIVE WITH

     23     IT, IF WE GET COOPERATION FROM MATTEL. AND I`LL DEAL WITH THE

     24     EX-PARTS APPLICATIONS IN JUST A MINUTE, BUT HERE'S MY PROPOSAL,

     25     YOUR HONOR:                                    ^(^^^^^                                            10:3


                                                           PAGE            ^z--

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                                                                                        ".__


                                                                                                                           23


     -^              1                    THAT THE PARTIES FOCUS ON PHASE ONE DISCOVERY. IF
     --^•;
                     2     JOHN QUINN QR MIKE ZELLER COMES TO ME AND SAYS, 'WE NEED THREE

                     3    MORE WITNESSES FOR DEPOSITION FOR PHASE ONE ISSUES,' I'M FINE.

                     4     WE^MADE THAT PROPOSAL.               BUT IT'S .ALWAYS 50 OR NOTHING.

         '           5                    LET'S FOCUS AND NARROW THE ISSUES TO BRING THTS CASE                                   ^0:3'

                     6     HOME FOR YQU, YQUR HONOR, ON THE SCHEDULE THAT YOU HAVE SET AND

                     7     EVERYBODY HA.S BEEN LIVING UP TQ.

_.._.---            ---g---- .-_..__---------^.-._._-.^ETr^_-TALK ^OU1''^'OD^lY^^`AYING---q'p--3iHE-.`P^,RT-I^^-^-------.^_...


     -               9     'COMPLETE DEPOSITIONS BY JANUARY 28TH, iF YQU HAVE, HOWEVER,

                    10     SCHEDULING ISSUES' -- BECAUSE ONE, FOR INSTANCE, MATT                                                 10:3


                    11      (UNINTELLIGIBLE) IS OUT OF TOWN.. THEY WANT ISAAC LARIAN ONCE

                    12     MORE, BUT ISAAC HAS TO GO TO THE HONG KONG TOY FAIR IN NEW

        ^^`
 '^ -. •:s
 is-^:.             13     YORK; SO THERE'S A SCHEDULING ISSUE WITH RESPECT TO I^IM THAT^WE

                    14     MIGHT NOT BE ABLE TO GET HIM IN BEFORE JANUARY 28TH. LET`S

                    15     WORK TOGETHER TO IDENTIFY --                                                                          ao:3

                    1^                     THE COURT:         SLOW DOWN.

                    17                     MR. NOLAN:         THERE CAN BE A LITTLE BIT OF WIGGLE ROOM

                    18     ON THE 2$TH, BUT WE TRY TO GET EVERYTHING iN BY THE 28TH.

                    19     WE'LL DOUBLE TRACK; WE`LL TRIPLE TRACK. I MEAN, EVERYBODY HA5

                    20     TOO MANY LAWYERS ON THIS CASE. WE CAN DO THAT.                                                        ^o:s

                    2^.                    THE COURT:         SO ARE YOU SAYING THAT YOU WOULD BE

                    22     WILLING TO WAIVE ANY OBJECTIONS OR YQU'D STIPULATE Tb AN

                    23     INCREASE IN THE NUMBER OF DEPOSITIONS?

                    2^                     MR. NOLAN:         FOR A VERY LIMITED NUMBER.

 ^       ^ ^        25                     T^iE COURT :       FQR PHASE ONE .                           ^                        io:s
                                                                             ^X^^^^T



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                                                                                             24



t^       ..         1'              MR. NOLAN: IF THEY'RE RELATED TO PHASE ONE.

                    2               WHY SHOULD WE,^RIGHT NOWT JUDGE, WITH JUDGE INFANTE

                    3    BURIED, WITH YOUR HONOR -- I MEAN, THE ELECTRONIC FILING

                    4    SYSTEM -- I'M AFRAID WE'RE GOING TO BURN THE SYSTEM WITH THE

     "              5    NUMBER OF DOCUMENTS THAT ARE BEING FILED IN THIS CASE.                   l0-3

                    6               THE COURT :    SOMEONE BROKE THE PLASTIC COURTESY BOX

                    7    THAT WE HAD IN THE BACK.

                    8               MR. NOLAN :    THAT WAS QUINN ^--L,     ^^

                    9               THE COURT :    YOU`RE SURE IT WAS?

                   10               MR. N^LAN :    I'M POSITIVE; THEY FILED MORE PAPERS THAN      3.0.3


                   ^1    ANYBODY ELSE.

                   12               THE COURT :    SOMEBODY BROKE.IT.

i'k..
   ":''^ "^        13           ^   MR. NOI,AAT:   BUT TO BE SERIOUS, YOUR HONOR -- LET' S

                   14    COME BACK TO MY OTHER PROPOSAL•THAT WE FOCUS ON PHASE ONE.

                   15               THERE ARE^HEARINGS THAT ARE CURRENTLY .SCHEDULED FOR          io:3

                   16    JUDGE INFANTE ON FEBRUARY 8TH. THEY'RE ALL, ExCEPT FOR ONE,

                   17    COMPLETELY BRIEFED.       THEY`RE ALL READY TO GO, JUDGE INFANTE

                   18    HAS BEEN DOING THE LORD'S WORK. IT IS UNBE^,IEVABLE THE AMOUNT

                   3.9   OF WORK THAT HE HAS BEEN DOING IN THIS CASE, ON TOP OF ALL OF

                   20    HIS OTHER CLIENTS THAT HE HAS COMMITTED: AND EVEN KNOWING THAT           3.0:3

                   23.   WE HAVE JANUARY 2.8TH COMING UP, HE CAN`T HEAR SOME VERY

                   22    SIGNIFICANT MOTIONS UNTIL FEBRUARY 8TH.

                   23               THE EXPERT REPORTS IN THIS CASE ARE DUE

                   24    FEBRUARY 11TH.    MANY OF THE ISSUES ON THE FEBRUARY 8TH CALENDAR

'.                 25    ARC ISSUES THAT DIRECTLY RELATE TO GETTING DOCUMENTS NECESSARY           10:9

                                                                  ^NIB^T         ^
                                                                  PAGE         ^
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                                     '^ __                                    t . _.
                                                                                                                 25



                    ^.   FOR OUR EXPERT PREPARATION.
 i
                    2               HERE'S THE WORST PART OF MY PROPOSAL :                    I'M WONDERING

                    3    WHETHER OR NOT, WITH RESPECT TO THE MATTERS THAT HAVE BEEN

                    4    BRIEFED AND ARE READY TO GO -- AND THERE ' S ONE THAT THEIR

                    5    OPPOSITION IS DUE ALITTLE - BIT LATER THIS WEEK ,                  AND T WAS GOING           10:9

                    6    TO TWEAK THAT A LITTLE BIT -- I WAS WONDERING WHETHER OR NOT

                    7    THOSE MATTERS ---- AND THERE ' S MAYBE FOUR MATTERS -- POSSIBLY
._.._._...----.---_°._$-_ _eOUL^^BE -^=IEARD^Y
                                                 MAGI^TItATE^^I.^K^-A-S-EARLY-AS--^E^{^T---WE`E-K-...___..^..--- _..._.._.

                    9    THEY ' RE ALL BRIEFED.

                   10               ALL OF THE PARTIES COULD GIVE TO THE MAGISTRATE ,                       0R        10:4

                   11    WHICHEVER MAGISTRATE THE COURT MIGHT ASK -- WE COULD GET ALL OF

                   12    THE BRIEFS TO^ THEM BY THE CLOSE OF BUSINESS TOA'lORROW .                    WE COULD

 ^..^:::^^:        1.3   DO IT BY THE END OF TODAY ; THEY ' VE ALL BEEN PREPARED.                     I THINK

                   ^.4   YOU HAVE ALL OF THEM THAT HAVE BEEN FILED IN FRONT OF_

                   15    JUDGE INFANTE .     BUT WE COULD PACKAGE THEM ALL TOGETHER , HAVE                            X0:4

                   16    THOSE MATTERS HEARD NEXT WEEK BY A MAGISTRATE, GET THE RULINGS.

                   17    IF THE DISCOVERY IS ORDERED ,           PARTIES MOVE QUICKLY TO GET THE

                   IB    DISCOVERY READY AND GET GOING.

                   19               THE COURT;         THE CONCERN THAT I WOULD HAVE IS -- YOU

                   20    .KNOW, JUDGE .INFANTE HAS DEVELOPED ,            I`M SURE , A CERTAIN DEGREE                 X0:4

                   21    OF INSTITUTIONAL MEMORY ASSOCIATED WITH THIS CASE, AND TO

                   22    SADDLE JUDGE BLOCK OR ANY OTHER JUDGE IN THIS COURT WIT^I THOSE

                   23    TYPES OF MOTIONS OUT OF NOWHERE ,             WITH NO BACKGROUND, I THINK

                   24    THAT WOULD PROBABLY BE A PRETTY ONEROUS IMPOSITION.

 !                 25               MR , NOLAN:         JUDGE BLOCK WAS INVOLVED IN THIS CASE                         10:4
                                                                            ^^LH^BfT        3

                                                                           ^a^^           ,^s
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                                                                                  26


      1    EARLY ON, YOUR HONOR. HE DID RULE ON SEVERAL MATTERS. I CAN'T

      2    GIVE YOU THE FULL COUNT.

      3               I CAN SAY THAT MANY OF THESE ARE STRAIGHT-UP MOTIONS

      4    THAT PRESENT ISSUES OF FACT THAT ARE NOT NECESSARILY TIED TO

      5    HAVING PARTICIPATED IN THE FIRST THREE QUARTERS OF THE GAME.                ^o: ^

      5    IT`5 NOT THAT WE'RE BRINGING IN SOMEBODY FROM A NEW TEAM.

      7               I THINK THAT IT`S POSSIBLE.

      ^-- ----.-----__._..-O^HERW^SE,.. _YQUR^ONOR,^'ifE^L^OKING^^'-^S^T^EDULE^_IN--

      9    FRONT OF JUDGE INFANTE. ON FEBRUARY 8TH FOR HEARINGS THAT,

     10    DESPITE HIS BEST EFFORTS, HE COULDN'T HANDLE ON JANUARY 3RD.                14: 4

     1I    HE'S GOT A TELEPHONIC CONFERENCE TOMORROW ON SOME THIRD--PARTY

     I2    ISSUES; JANUARY ].0TH, HE HAS THAT HEARING.                        -

     13               BUT IN ORDER ^'OR THIS IDEA.TO WORK, YOUR IiONOR -- I

     14    DON`T KNOW WHETHER OR NOT YOU REALLY NEED THE HISTORY.

     15               THE GOOD NEWS ABOUT THE LAWYERS IN THIS CASE, THEY               14: 9

     ].5   REPEAT EVERYTHING IN THE PAPERS; SO FRANKLY, SOMEONE PICKING .

     17    UP -- I THINK IT'S POSSIBLE, YOUR HONOR.

     18               THERE'S-ONE OTHER ISSUE THAT WOUL]7 HAVE TO BE

     19    CHANGED, AND THAT IS THAT THERE`S AN Ok'P05ITION THAT MATTEL HAS
                                           _^
     20    TO FILE ON THE I1TH. THEY HAD ASKED FOR --- I THINK THEY GOT                14:9

     21    SOMETHING, LIKE, A 20--DAY EXTENSION OF TSME TO FILE IT BECAUSE

     22    OF THE HOLIDAYS. IF THEY FILED IT ON THURSDAY RATHER THAN

     23    FRIDAY, I COULD COMMIT TO FxLING OUR k'APERS ON SUNDAY EVENING

     24    SO THAT THOSE COULD ALL BE HEARD NEXT WEEK IN FRONT OF THE

                                                   ^XHI^IT        3
     25    MAGISTRATE .                                                   -            10:4


                                                   gA^E          ^^a

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                  '        1                THEN I WOULD SAY, YOUR HONOR, THAT WE COULD HAVE OUR.

                          2     HEARING ON JANUARY 17TH, WHICH WOULD BE 'THE HEARING ON THESE

                           3    OUTSTANDING MOTIONS THAT RELATE TO PHASE ONE ISS^TES. WE COULD

                           9    GET THE RULING. IF IT'S GRANTED, WE TAKE THE DISCOVERY RIGHT

                           5    AWAY, AND WE HAVE THAT DISCOVERY AVAILABLE FOR THE EXPERTS ON                      1q:9

                           6    FEBRUARY 11TH.

                           7                NOW, IF JOHN OR MIKE COME TO ME AND-SAY WE NEED THRE E
-...___._.^._.__-__ ^-.
                                MORE DEPOSITIO s^__ITM•-WILI^ZI^G-'IO^TORK--THAYI'^UT;^^OUR-^IONOR:----^--- - -_._._...

                           9    I'M NOT HOLDING IT TO 22 OR 24. I WANT TO SET ASIDE THIS

                          10    NONSENSE ABOUT HOW YOU COUNT DEPOSITIONS.               WE THINK THAT WHEN         X0:9

                          11    WE GET TO THE EX-PAFtTE ^ARGrJ'MENT, Z' LL TELL YOU THAT THAT IS A

                          12    LITTLE BIT LATE IN THE GAME. WE THINK zT'S A LITTLE BIT

  ^^:::;^.=^.^:       ^   13    DISINGENUOUS AT THIS POINT IN TIME. BUT IT CANNOT BE, YOUR

                          14-   HONOR, IT CANNOT BE, THAT WHEN YOU THINK OF THE HARD SCHEDULE

                          15    THAT YOU PUT IN, WHAT YOU ASKED MGA AND US TO STEP UP TO                           io:9

                          15    PROPERLY, NOTHING WRONG WITH THAT. WE DID IT. U1E DID IT. TO

                          17    NOW SOFTEN IT BECAUSE OF ALLEGED PRODUCTION ISSUES, WHERE,

                          18    FRANKLY, YOUR HONOR, MOST OF^THE PRODUCTION HAD ALREADY TAKEN

                          19    PLACE BEFORE THAT DISCOVERY.

                          20                 THE PROPOSAL THAT I HAVE COME UP WITH, YOUR HONOR,                    a,o:9

   '                      21    ALLOWS US TO GET PHASE ONE DONE. ZT DOES REQUIRE PHASE TWO TO

                          22    BE PUT ON THE BACK BURNER.

                          23                 WHEN I SUGGESTED THAT EARLIER, IT WAS A DIFFERENT

                          24    TIME AND A DIFFERENT PLACE. YOUR CONCERN, RIGHTFULLY SO, WAS,

   .         ^            25    'GEE, WE`RE GOING TO HAVE MORE BATTLES, NOLAN, BECAUSE WHO CAN                     7.0:9

                                                                               ^^^^^^^

                                                                               ^^+;^^        37
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                                          ^._._                                      ^_^,
                                                                                                                          28



 . :          1.        TELL WHETHER OR NOT IT'S PHASE ONE OR PHASE TWO?`

              2                           THAT ISSUE IS REMOVED BECAUSE OF THE HARD DISCOVERY

              3         STAY ON JANUARY 28TH. IF WE FOCUS ALL ON PHASE ONE ^-

              4                           THE COURT :        LET ME HEAR MR. QUINN'S RESPONSE TO YOUR

              5         PROPOSAL.          AND X DON'T MEAN TO MOVE YOU ALONG HERE, BUT WE HAVE                                 xo-a

              &         TO MOVE YOU ALONG.

              7                           MR. QUINN, WHAT'S YOUR THOUGHT ON ----
_._.^_-      ^_. . ................-
                                       - - -^-;-.^QUT-NN:-..._.-'YDU^t-^3ONOR; ^^,`('3^^SE-i-'i"I--^O`P- INT^I^ATE-LY---^-- ---^_-...

              9         FAMILIAR WITH THE MATTERS THAT ARE TEED UP BEFORE J[TDGE INFANTE

             10         ON THAT. PORTION AND THE IDEA THAT BE DEFERRED TO^MAGISTRATE                                            X0;4

             11         BLOCK, I'D LIKE TO DEFER THAT TO MR. ZELLER.

             12                           BUT BEFORE I DO THAT, IF I COULD RESPOND TO THE•

             13         PROPOSAL.                                                                                                  .

             14     -                     THE COURT:         PLEASE.

             15                           Nit. QUZNN:        WHAT I'M HEARING IS THAT MR. NOLA-ErI IS -                         ^a:4

             16         PREPARED,          II' WE REALLY NEED IT, TD GIVE US THREE MORE

             17         DEPOSITIONS ON PHASE ONE TOPICS.

             18                            THE COURT:        I DON'T THINK HE'S LOCKED INTO THREE. I

             19         THINK HE WAS USING THREE AS AN EXAMPLE. BUT I THINK WHAT HE`S

             20         RELUCTANT TO DO IS GIVE YOU A BLANK CHECK.                                                              10:4


             21                            WHAT I'M HEARING IS THAT IF YOU CAN IDENTIFY THOSE

             22         PARTICULAR DEPOSITIONS OR THAT PARTICULAR DISCOVERY THAT YOU

             23         NEED TO COMPLETE THE PHASE ONE DISCOVERY --- AND I DO ACCEPT THE

             24         NOTION THAT WE`RE AT A DII'FERENT POINT NOW THAN WE WERE SEVERAL

             25         MONTHS AGO IN TERMS OF BEING ABLE TO IDENTIFY WHAT IS PHASE ONE                                         10:9

                                                                                   ^^^^^^^

                                                                                   P^^^              3b'
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      '1   AND PHASE TWO. I MEAN, WE ST^OULD BE NEARING THE END. YOU

       2   SHOULD HAVE A PRETTY CLEAR SENSE OF WHAT YOU NEED TO TRY YOUR

       3   CASE AND WHAT THEY NEED TO TRY THEIR CASE.

       4                   MR. QUINN:    RIGHT.

       5                   THE COURT:    I THINK WE SHOULD BE AT A POINT WHERE                 xo:9

       6   PEOPLE OF THE. CALIBER THAT ARE GATHERED HERE SHOULD BE ABLE TO

       7   SAY; 'THIS IS WHAT WE NEED TO PTN DOWN BEFORE WE CAN GO TO

     -^ "^,'R^"AZ^:T- AND^ZJU^`NEE17_.SOME..^'lORE;' ^THEY'^"^'EED^-°HOME- I^Oi^^^T^'^-GET-' --^--^

       9   T^I.AT DONE .

      1Q                   THAT SUGGESTION IS SOMETHING THAT RESQNATES WITH THE                st^:9

      11   COURT QUITE WELL. IT REQUIRES THE LEVEL OF MATUFiTTY THAT IS

      12   NOT ALWAYS PRESENT IN LITIGATION, BUT I TRUST IS PRESENT IN

      13   THIS COURTROOM.

      14                   MR. QUZNN:    YOUR HONOR, I THINK THERE IS SOME WISpOM

      15   THERE.     THE DEVIL IS IN THE DETAILS,                                             so:q

      16                   THE COURT:    AS ALWAYS.

      17                   MR. QUINI3:   LET ME SAY THAT JUST, FOR EXAMPLE, THE

      18   WEEK BEFORE LAST, WE TOOK -- AND. THIS IS SOMETHING THAT

      19   HAPPENED SINCE THIS MOTION WAS FILED -- WE TOOK THE DEPOSITxON

      20   OF A PERSON NAMED VERONICA HARLOW, WHO IS THEIR VENDOR FOR                          10:9

      21   FASHION DESIGN FOR BRATZ, AND LEARNED IN THE COURSE OF THAT

      22   DEPOSITION THAT THREE MATTEL EMPLOYEES OTHER THAN CARTER BRYANT

      23   HAVE BEEN WORKING ON BRATZ FOR^YEARS. THAT WAS THE TESTIMONY.

      24                   THIS WAS NEWS TO US.

      2S                   MOREOVER,' SHE TESTIFIED T HAT   ^ HE HAD A CONVERSATION
                                                         ^ qS                                  1.0:9
                                                        p^
                                                        ^^rr EE^^
                                                       ^Ri^^D^l _.    e^




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                       1       WITH AN MGA EXECUTIVE ABOUT THIS, WHERE SHE REFUSED TO ANSWER

                       2       POINTED QUESTIONS ABOUT WHETHER THERE WAS SOMEBQDY ELSE AT

                       3       MATTEL WORKING ON THIS.

                       4                   I SUBMIT, YOUR HONOR, THAT IS 73LOCKBUSTER.TESTIMONY,

                       5       IN OUR VIEW. WE THOUGHT THIS WAS JUST CARTER BRYANT; SO                       X0:9

                       6       THERE'S THREE EMPLOYEES, TWO.OF WHICH ARE FORMER EMPLOYEES NOW,

                      7        AND THIS EXECUTIVE, MEL WOODS -- HIS NAME ISN'T EVEN IN THIS
___. __-....^, ._.-._ $ -...
                               _L^ST T^iAT F7E^^E S^UB^TT^_- '^Z^`fiHZNK--WE ^TIEEID^TCF-TAKE---^THEI        -------

                       9       DEPOSITIONS.                                       ^    -

                     Ia                   NOW, MR. NOLAN BANDIED ABOUT THE NUMBER OF 5Q. THE                 X0:9

                     1I        NUMBER ISN'T 5Q. WE'VE LISTED THE DEPOSITIONS TN OUR PROPOSED

                     I2        FORM OF ORDER THAT WE SUBMITTED TO THE COURT. Z DO THINE{ WE

(:   --^            ^^13       COULD SIT DOWN^AND SAY THIS GROUP -- AND MOST OF THEM ARE -- IS

                     I4        TRU•LY JUST PHASE TWO.    THERE'S GOING TO BE A -SIGNIFICANT

                     15        CATEGORY THAT ARE BOTH PHASE ONE AND PHASE TWO, AND. THEN THERE               ^o:a

                     16        WILL BE SOME SMALLER NUMBER WHICH ARE PHASE ONE ALONE.

                     17                    THE COURT :   THIS^IS HELPFUL IN TERMS 0^' THE COURT

                     18        FASHIONING AN ORDER FOR THIS MOTION..

                     Z9                    MR. QUINN :   IN TERMS OF MR. BRYANT, YOUR HONOR, AND

                     20        WHAT HAPPENED LAST FALL --- AND COUNSEL FOR MR. BRYANT SAID 5HE               zo:9

                     2^.       DIDN'T HAVE ANYTHING BEFORE HER ABOUT THE ORDER THAT THE COURT

                     22        ENTERED.    WE RAISED THIS IN OUR MOVING PAPERS. WE CALLED THE

                     23         COURT'S ATTENTION -- REMEMBER WHEN THEY WERE HERE BEFORE,

                     24        ASKING TO CUT SOME SLACK FROM THE MAGISTRATE'S ORDER. IN THE

'                    25        MOVING ORDERS, PAGE 2^, WE DISCUSSED THAT, AND AGAIN IN OUR                    1.0:9

                                                                        ^^^^^^^

                                                                        ^^^^
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                                                               ` .,. -


                                                                                            33.


               I     REPLY PAPERS ON PAGE 11; SO I SUBMIT, WE DID TEE UP THAT ISSUE_
...: ,
               2     THIS IS AT LEAST AS COMPELLING A SITUATION TO TAKE ANOTHER LOOK

               3     AT WHAT JUDGE INFANTE RULED.

               4                 WITH RESPECT TO THE NIECE, THE NIECE HAD HIS

               5     COMPUTER,   WE WENT THROUGH A'RUNAROUND TO GET HIS COMPUTER. ^7E             10:A

               6     FOUND THIS 'EVIDENCE ELIMINATOR` -- THAT'S THE NAME OF A

               7     PROGRAM; IT' S NOT ^A GREAT N1^ME -- ON THE COMPUTER, AND JUST TO

               $     GET ASSURANCE THAT ^SOME
                                            EBODY WASN^' T GOING TO SAY ^- ^0^, TEIZ--ME- "^`^--

               9     I'M BEING T00 DEVIOUS AND OVER THINKING THIS HERE --- TH7^T

              10     50MEBODY MIGHT SAY THE NIECE PUT 'EVIDENCE ELIMINATOR' ON THE                10:4

              11     COMPUTER.    WE TOOK HER DEPOSITION FOR ONE HOUR AND 15 MINUTES;

              12     THAT WAS IT.

              13                 50 IF THE PROPOSITION IS THAT --

              14                 THE COURT :   ALONG TIME TO ASK A QUESTION.

              15                 MR, QUINN :   YEAH.                                              x.0:9

              16                 THE COURT :   ALL RIGHT.

              17                 MR. QUINN :   IF THE PROPOSITION IS THAT MR. NOLAN AND

            '1 ^$    I SHOULD SIT DOWN AND FIGURE OUT WHICH^ARE TRULY PHASE ONE AND

              19     WHICH ARE SORT OF A MIX AND WHICH^ARE PHASE TWO AND WE CAN

              20     FORGET ABOUT FOR NOW, I'M SURE WE CAN DO THAT. BUT, AGAIN, T                 la:q

              2 1.   UNDERSCORE THE IDEA, IT'S NOT GOING TO BE THREE, AND IT'S NOT

              22     GOING TO BE TEN; IT'S GOING TO BE MORE THAN THAT THAT WE NEED

              23     FOR PHASE ONE.

              24                 THE COURT:    I'LL TRY TO PROVIDE AS MUCH GUIDANCE AS I

              25     CAN IN THE COURT' S ORDER.             ^^^^^^^         ^                     10:9


                                                            PAGE         - - ^/      -- -
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                                                                                                                               ^2

 _^                 1                           MR. ZELLER :           I' D JUST LIKE TO .ADD, YOUR HONOR -- AND

                    2^     I'M NOT TRYING TO FAULT MR. NOLAN -- I WAS THE ONE WHO

                    3     DISCUSSED WITH HIS COLLEAGUES THE VERY PROPOSAL THAT HE'S

                    4     MAKING HERE NOWT IN WHICH I ASKED WHETHER OR NOT^THERE WERE AT

                    S     LEAST SOME PEOPLE ON OUR LIST, WHICH WE GAVE TO THEM IN ADVANCE                                           2a .5
                    6     OF ,ALL OF THIS, THAT THEY WOULD AGREE TO. WE GOT AN ANSWER OF,

                   7      NO, THAT THEY WOULDN'T AGREE TO ANY OF THEM. -
                   8_.. _.__.--.--.--..____...__.. -THR
                                                          -COURT -: --^TEL^L; --HOPEFUDS,Y!_.THE--C^]URT^'_S._ORDER--W'i^i^-^--- --^---^-

                    9     PROPEL AND MR. NOLAN`S STATEMENTS TODAY WILL RESOLVE THAT.

                  10                            I'M GOING .TO MAKE YOUR JOB A LITTLE EASIER HERE,                                   10:5

      -           11      BECAUSE THE COURT DOESN'T TAKE THE SUGGESTION WELL IN TERMS OF

                  12      SENDING THIS TO A MAGISTRATE JUDGE AT THIS POINT. I JUST DON'T

1=^^'::^=^        13      THINK THAT WOULD WORK FOR A NUMBER OF REASONS, SOME THAT HAVE

                  14      NOTHING TO DO WITH -- THAT ARE INTERNAL TO THE COURT'S

                  1S      OPERATIONS .                                                                                              10 : 5

                  16                            MR_ ZELLER :           YOU'RE REFERRING TO THE REFERENCE OF

                  17      SOME OF THOSE MOTIONS TO JUDGE BLOCK?

                  18                            THE COURT :           OR TO SOME OTHER MAGISTRATE JUDGE, YES.

                  19                            MR. ZELLER :           AND NOT TO BEIaABOR THE POINT, I BELIEVE

                  2D      THE COURT HAS REACHED A DETERMINATION ON THAT, BUT SOME OF                                                x.0:5

                  21      THOSE MOTIONS THAT ARE UP IN FRONT OF JUDGE xNFA^ITE ACTUALLY

                  22      HEAVILY INVOLVE HIS PRIOR RULINGS AS WELL; SO THAT WOULD BE

                  23       PARTICULAR INEFFICIENCY, I THINK, ON TRYING TO MOVE THOSE OVER

                  ^24      TO JUDGE BLOCK. THEY ARE NOT DISCRETE ISSUES, AS HAS BEEN

                  2S      SUGGESTED.                                                    E^^^^^^           -^                        zo_5

                                                                                        ^A^E            `^Z

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                                                                ^_,.
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       ^-                     THE COURT:    VERY WELL.

       2                      I'M GOING TO MOVE ON TO THE MOTION REGARDING THE

       3        AUGUST 27, 2007 ORDER.

       4                      THIS RELATES TO WHETHER OR NOT ALL PARTIES ARE

       5        REQUIRED TO SUBMIT THE AFFIDAVIT SUGGESTING OR SETTING FORTH                       10:5

     `6         SPECIFICALLY THEIR EVIDENCE RETENTxON^AND OTHER PRACTICES

       7        RELATED TO DOCUMENT RETENTION IN THIS CASE.
            _
       $         ^^.     -^                                                                        ..___.
                              THE COURT RENiEMB^RS THE HEARING 6^E^L; -A'l^!'D-WHILE__^T,_.T_S__

       9        TRUE THAT ZN THE COURSE OF^DISCUSSING THE^MOTION^FOR

      ^0        TERMINATING SANCTIONS WHICH WAS BROUGHT^BY MGA THAT THE COURT                      io:s
     11         REFERRED DURSNG THE HEARING TO MATTEL AND TO MGA, I DON'T THINK

     1.2        THE COURT COULD HAVE BEEN MORE EXPLICIT IN ITS QRDER THAT THE

     13         ORDER APPLIED TO ALL PARTIES.

     14                       I DON'T KNOW WHAT LANGUAGE i COULD HAVE USED TO BE

     ^5         CLEARER IN TERMS OF THE SCOPE OF THE ORDER; THAT'S MY TENTATIVE                    10:5

     ^.6        THOUGHTS.      I'LL CERTAINLY GIVE, ANYONE WHO WANTS 'FO ADDRESS IT

     17         AN OPPORTUNITY TO^DO S0, BUT MY SENSE IS THAT THIS APPLIES TO

     7.8        EVERYBODY.      AND I GUESS I NEED TO HEAR SPECIFICALLY FROM

     19         COUNSEL FOR MACHADQ GOMEZ, BECAUSE I ALSO TEND TO AGREE THAT

     20         THE DECLARATION SUBMITTED BY HIM --- WHICH IT'S NOT CLEAR TO THE                   10:5

     2I         COURT WAS EVER FILED, ALTHOUGH I'VE NOW SEEN IT AS IT'S BEEN

     22         SUBMITTED IN PAPERS -- IS ANYTHING BUT ADEQUATE TO COMPLY WITH

     23         THE COURT'S ORDER REGARDING THE NEED FOR A FILED AFFIDAVIT.

     24                       COUNSEL?

     25                       MS. ANDERSON:     THANK YOU, YOUR HONOR. THIS TS                     10:5

                                                               EXNff3fT        ^
                                                               PR^f~ ----    ^3
                       JANUARY 7, 2008                       RRYAN`(' ^T^   M7-1TTFT.
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                       1     CHRISTA ANDERSON FOR CARTER BRYANT.
! :=...
                       2                    YOUR HONOR, I CERTAINLY CONSIDER MYSELF AND MY FIRM

                       3     TO BE VERY RESPONSIBLE LAWYERS, AND WE DID NOT UNDERSTAND

                       4^    YOUR HONOR'S. ORDER TO REALLY MEAN ALL .PARTIES BECAUSE WE READ

                       5     THE LANGUAGE OF THE ORDER AS INCORPORATING AS ORDERED BY THE                                       10.5

                       6     COURT DURING THE HEARING.

                       7'                   WE DID READ YOUR HONOR'S WORDS VERY CAREF{7LLY TO TRY

_.....__^...____-$_
                            ^'FCC-ASCE-RT^i3^T-WHE^THE•R-^WE` D^I-D^-CSR--i^^D--NO`^^3^1VE`-Tfl^`D0^-I'i'-:---WE-^':.^._..-----~- -.._

                       9     APOLOGIZE IF WE MISREAD THIS ORDER, YOUR HONOR.

                      10                    THE COi3RT:        THERE'S NO NEED TO APOLOGIZE, BUT PART OF                        10:5.

                      11     WHAT I REMEMBER OF THE HEARING IS THAT THE ATTORNEY THAT YOU

     -                12     HAIL REPRESENTING CARTER BRYANT HAD TO LEAVE FOR A SPEAKING

t`^:^:^..:..,^        13     ENGAGEMENT IN THE MIDDLE OF THE HEARING. I'VE HAD ATTORNEYS

                     •14     NOT SHOW UP F,OR HEARINGS, BUT Ifi LITERALLY WAS .THE FIRST .TIME                                    .

                      15     THAT I'VE BEEN ON THE BENCH THAT I'VE ACTUALLY HAD AN ATTORNEY                                     10:5.

                      16     WALK OUT IN THE MIDDLE OF A TIEARING.

                      17                     SO FOR CARTER BRYANT NOW TO BE SUGGESTING THAT THEY

                      18     DID NOT UNDERSTAND THE COURT'S ORDER OR DIDN'T HAVE AN

                      19     OPPORTUNITY TO CHALLENGE THE COURT'S ORDER, IT WOULD BE A GOOD

                      2^     THING NEXT TIME FOR HIM TO SHAY FOR THE WHDLE HEARING.                                              10:5.

                      21                     MS. ANDERSON: .ABSOLUTELY, YOUR HONOR.

                      22                      'UST TD DEFEND OUR POSITION A BIT, IF YDUR HONOR

                      23     WOULD TOLERATE IT FOR ONE, MOMENT, BECAUSE WE WERE NOT THERE,

                      29     Tn7HEN WE SAW THAT YOUR HONOR iIl-^D INCORPORA'^ED REFERENCE TO --

                      25.                    THE COE7RT^:      AGAIN, YOU LEFT . YDU WERE THERE AT THE                           to :5
                                                                                     ^^^^T._.

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                  1     BEGINNING OF THE HEARING, AND YOU LEFT.

                  2                    MS. ANDERSON :          INDEED.

                   3                   WE GOT THE TRANSCRIPT, AND WE EXAMINED IT, AND WE HAD

                   4    CONCLUDED fiHAT BECAUSE THE AFFIDAVIT SEEMED TO BE INTENDED TO

                  5     ADDRESS WHO WAS INSTRUCTED TO PRESERVE DOCUMENTS AND WHICH                                            ^a_5

                   6    CATEGORIES OF DOCUMENTS THEY WERE INSTRUCTED TO PRESERVE, AND

                   7    BECAUSE THE COURT HAD SAID, AT LEAST DURING THE HEARING, IT

                 --8   - REQU3-RED -T-inTO--^-I-^TGUL-AR^^^'FIDA^T^fi-S r---ONE- '-ROM MGA,--^-ONE--`ROM.-._._ .,^.----.---- -----

                   9    MATTEL; TO US, THAT SUGGESTED-THAT THIS WHOLE AFFIDAVIT

                 10     PROCEDURE DIDN'T SEEM TO BE DIRECTED AT OUR CLIENT.                                                   io;5


                 1^.                    AGAIN, WE DO APOLOGT2E.                                   .

                 12                     THE COURT :        IT'S CLEAR NOW.

^;?.`   7
                 13                     MS. ANDERSON :         YES.      WE WILL TAKE CARE OF THAT,

                 19     YOUR HONOR.                                                           -

                 15                     THE COURT :        VERY GOOD .                                                        ^.o . 5

                 ^b                     MS. ANDERSON :         ALSO, YOUR HONOR, THERE IS A REQUEST

                  17    IN HERE. IT SEEMS TO BE TYPICAL FOR THESE MOTIONS FILED BY

                  18    MATTEL FOR SANCTIONS.               WE WOULD REQUEST THAT OUR CLIENT NOT BE

                 Z9     SANCTIONED, GIVEN THE AMBIGUITY OF THIS SITUATION.

                  2Q                    THE COURT :        IF IT WAS AMBIGUOUS TO YOU, WHY DIDN'T                             x.0:5

                  21    YOU SEEK CLARIFICATION IN THE INTERVENING MONTHS?

                  22                    MS . ANDERSON :         I SUBMXT', YOUR HONOR, THAT MATTEL

                  2S     EQUALLY SHOULD HAVE SOUGHT CLARIFICATION. BECAUSE WHEN WE READ

                  24     THE ORDER -- AND WE POINTED 'PHIS OUT' T'0 MATTELiS COUNSEL -- IT

                  25     SEEMED TO INCORPORATE BY REFERENCE THE GUIDANCE THE COURT HAD                                        sass
                                                                                    ^^^^BIT            3

                                                                                   P^G^               `f^
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                1    GIVEN DURING THE HEARING ABOUT WHO WAS SUPPOSED TO DO IT AND

                2    WHAT WAS SUPPOSED TO BE IN IT.

                3                 WE WERE NOT TRYING TO BE DIFFICULT.

                4            ^    YOUR HONOR, FRANKLY, IN THIS LITIGATION, WHICH IS

                5    .SCORCHED EARTH LITIGATION IF I'VE EVER SEEN IT, WE'VE SPENT, MY                      10:5

                6    CLIENT AND MYSELF AND MY FIRM, A LOT OF TIME DEFENDING

                7    OURSELVES AGAINST WHAT WE VIEW TO BE INCESSANT ACTIVITIES BY

                8^   MATTEL TO SORT OF MAKE WORK; FILE BRIEFS, DO THINGS FOR

                9    SITUATIONS WHERE WE DO NOT BELIEVE IT IS APPROPRIATE, AND WE

              10     THINK IT TS HARASSING. AND THIS APPEARED TO US TO BE YET                              10:5

              11     ANOTHER SITUATION WHERE WE WERE BEING DRIVEN TO DO THE SAME

              I2     THING OVER AND OVER AGAIN.

^^^^''^
4 ^
               13                 THAT IS SORT OF THE CONTEXT OF THE SITUATION WE'VE

               14    BEEN DEALxNG WITH, YOUR HONOR.                                                        ^    ,

               I5                 THE COURT:    THANK YOU, COUNSEL.                                        ^.D:S


               16                 MR. OVERLAND, DO YOU WISH TO SPEAK ON ^3EHA3^F OF

               17    MR. MACHADO GOMEZ?

               18                 MR. OVERLAND:    YES, YOUR HONOR.

               19                 DOES THE COURT WISH ME TO JUST ADDRESS THE CONTENTS

               20     OF THE DECLARATION?                                                                  ^-^: S

               21                 THE COURT:    YOU MAY .ADDRESS THE COURT'S TENTATIVE ON

               22     THIS, AND THAT'S TO MAKE IT^CLEAR TO THE PARTIES THAT ALL

               23     PARTIES NEED TO SUBMIT THE AFFIDAVIT. BUT PARTIi;ULARLY WITH

               24     RESPECT TO THE DECLARATION THAT HAS BEEN SUBMITTED ON BEHALF OF
^'^^
^..^.          25     YOUR CLIENT, I DON'T THINK IT FULLY CAPTURES WHAT THE COURT HAS                      ^a:5




                          .Tnrrrrnnv ^   ^nn^                 ............... -...   .__.._......._
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                  1    SET FORTH IN THE ORDER. AND PERHAPS THAT MIGHT BE BECAUSE YOU

                  2    DIDN'T HAVE THE SENSE,. AS CARTER BRYANT DIDN'T HAVE THE SENSEr

                  3    THAT IT FULLY APPLIED.

                  9                    I HOPE, AFTER TODAY'S ORDER, I'LL MAKE IT AS CRYSTAL

                  5    CLEAR AS POSSIBLE THAT IT DOES APPLY TO ALL PARTIES AND THAT AN                                       10:5

                  6    ACTUAL AFFIDAVIT NEEDS TO BE FILED WITH THE COURT, SETTING

                  7    FORTH EVERYTHING AS REQUESTED xN THE ORDER,

                 ^    _-_-----.----------.MR-.---4'^7ERL^:ND :----A-S-. 3---Ui^DE^RSfiAND--THE--ORDER.^   IT_.WAS.._.THA'^- ---.^_

                  9    ALL PARTIES SET FORTH, IN AFFIDAVIT FORM, THEIR PRESERVATION

                 10    EFFORTS AND- POLICIES .                                                                               zp :5

                 11                    THE CC}URT:        ALL. YOUR CLIENT STATED IN THE DECLARATION

                 12    IS THAT HE HAS NOT KNOWINGLY DESTROYED ANY EVIDENCE.

!^:              13                    THAT'S NOT A DESCRIPTION TN DETAIL OF THE RETENTION
^:.^ ^. -
                 14    POLICIES.

                 15                    ice. OVERT.,AATD :      WELL, HE DOESN' T HAVE, A POLICY . HE' S                      10 : 5

                 16    AN INDIVIDUAL. IT'S LIKE YOU ASKING ME WHAT MY RETENTION

                 17    POLICY IS.                                                         -

                 18                    THE COURT: I SUSPECT YOU, LIKE I, PROBABLY HAVE

                 19    PERSONAL FILES AND WE KEEP THINGS OR WE DON`T KEEP THINGS OR WE

                 20    THROW THINGS OUT AFTER SO MANY YEARS. WE ALL HAVE OUR OWN                                             1p:5


                 21    POLICIES.         I UNDERSTAND THEY'RE NOT POLICIES IN THE CORPORATE

                 22    SENSE, BUT WE ALL HAVE OUR CUSTOMS, PRACTICES, HOWEVER YOU WANT

                 23    TO PHRASE IT.

                 24                     HE'S A SOPHISTICATED BUSINESSMAN, LIKE THE OTHER

                 25     PARTIES IN THIS CASE, AND I SUSPECT HE HAS SOME --- I WANT T4                                        10:5



                                                                                 ^AG^            ^`^7
                              JANUARY 7, 20Q$                                   RRYAI^T V^        Nrnm^r^r.
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    ^^                1     KNOW WHAT HE DOES WITH HIS DOCUMENTS, AND TO SIMPLY SAY THAT

                      2     HE HASN'T KNOWINGLY DESTROYED IS REALLY NQT SUFFxCIENT.

                      3                    MR. OVERLAND: I UNDERSTAND.           AND WE'D BE WILLING TD

                      9     SUBMIT A DIFFERENT DECLARATION.

                      ^                    TF THE COURT COULD BE CLEAR QN EXACTLY WHAT IT IS                                 0:5

                      6     THAT MR. MACHADO SHOULD SAY. IN bTHER WORDS, DOES HE HAVE TO

                     . 7    SAY, 'FROM X DAY, HERE`S WHAT I DID WITH RESPECT TO DOCUMENTS,'
.^._._ __^_                                                                      --- -.-_^-^_.^_^--------^ ...._..._._ _.     -_
                      8     OR ' THIS IS NTY NORMAL HFIBIT ^ OR CUSTQN!' ^-' ?

                      ^                    THE COURT :       I'LL TRY^TO BE CLEAR IN THE ORDER THAT L

                 -   10     ISSUE TODAY,                                                                                    zo:s

                     11                    MR. OVERLAND:       OKAY.   VERY WELL.

                     12                    THE COURT :       THE LAST MOTION BEFORE THE COURT iS THE
    .-.^.:..
 #`:.:.<_:;.;        13     MOTION CONCERNING DISCOVERY BEFORE BUDGE INFANTE.

                     14                    AGAIN, THE ORDER SEEMS QUITE CLEAR. IT RESTS ON                             -

                     15     FEDERAL RULES OF CIVIL PROCEDURE 53. OF COURSE, THERE'S                                ^        10:5

                     16     MULTIPLE.PROVISIONS IN RULE 53 WHICH PERMIT THE APPOINTMENT OF

                     1'7    A DISCOVERY MASTER. ONE PROVISION iS PURSUANT TU A STIPULATION

                     18 ^   OF THE PARTIES, BUT THE THIRD PROVISION IS PURSUANT TO THE

          ^..        19 - COURT'S ORDER THAT THIS IS AN APPROPRIATE CASE FOR THE
                          ^^
                     20   APPOINTMENT OF A DISCOVERY MASTER.                                                                10:5

                     21                    I'M CERTAINLY SYMP^ITHETIC TO THE ARGUMENT BEING MADE

                     22     THAT IT'S AN EXCEPTIONAL AND RARE PROCEDURE FOR THE COURT TO

                     23     INVOKE.      BUT I THINK ^3UST THIS RECORD ALONE, MR. NOLAN'S

                     29     RECxTATION OF THE DISCOVERY PRODUCED IN THIS CASE, CLEARLY

 ^•^^       ^        25     SUGGESTS THAT THIS IS A PRET'T'Y UNIQUE CASE.                   AND THxS xS A CASE              3.0:5




                                 -fAAiTT7.1RY '7   ^(1lli^                 nnvnh'rm   trr    T^n^t,mr;^r
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  „                   ^.   WHICH, AFTER CONSULTATION WITH JUDGE BLOCK, THE COURT' MADE THE
 ^:: - .: .
        -            2     DECISION, TOR THE FIRST TIME IN MY CAREER AS A JUDICIAL OFFICE R

                     3     THAT, YEAH, THIS IS A CASE THAT A DISCOVERY MASTER NEEDS TO BE

                      4    APPOINTED.

                     5                   ALL^DISCOVERY WAS REFERRED. TO THE DISCOVERY MASTER.                                   10:.

                      6                   I DON'T KNOW-WHAT REALLY NEEDS TO BE CLARIFIED OR

                     7     WHAT THE CONFUSION ON THAT IS.

__--^--------8--            - -- _...-----^------I--DON' T--SEA-T^-I3C^F---4^ROGESS-AI^GT^MEI^'E--T-HATS-BETNG.__ .....__... ._----_-

                      9    MADE OR URGED BY THE DEFENSE IN THIS CASE. CERTAINLY, ANY

                    7.4    DECISION BY THE DISCOVERY MASTER IS REVIEWABLE BY THIS COURT.                                        1p:;

                   I1      THE RULE ITSELF AND THE COMMENTARY MADE CLEAR, I THINK, THAT

                   Z2      THIRD PARTIES, EVEN NONCONSENTING THIRD PARTIES, ARE SUBJECT TO

  `- ^             1.3     THE PROVISYONS, .EVEN TO THE CONTEMPT PROVISIONS .

                    I4                    SO I GUESS I DON'T REALLY SEE MUCH OF AN ISSUE ON

                    15     THIS MOTION, BUT I'LL HEAR FROM ANYBODY WHO WISHES TO SPEAK                                          11:z

                    ^. 6   ^'`URTHER .

                    7.7                   MR. OVERLAND:          WITH RESPECT TO MR, MACHADO, I THINK

                    1.$    -THE BASIC PROBLEM WE HAVE IS^THAT THE ORDER WAS MADE PURSUANT

                    19     TO RULE 53, AND RULE 53 REQIIIRES PRIOR NOTICE.

                    20                   - WE NEVER RECEIVED PRIOR NOTICE.                                                      3.1': t


                    21                    IF YOU LOOK AT 53(B)^1), THAT REQUIRES^PRIOR NOTICE

                    22^    TO THE PARTY, AN OPPORTUNITY TO BE HEARD, AN OPPORTUNITY TO

                    23     OBJECT.

                    24                    THE COURT:         YOU HAVE AN OPPORTUNITY TO BE HEARD, NOT

 '.       -         25     ON THE APPOINTMENT OF THE DISCOVERY MASTER, BUT ON THE RULINGS                                       z1:t




                                                                                ^^^^         ^ /
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                                                                                                                        ^O



     -                      1    OF THE COURT. WITH THE DISCOVERY MASTER, YOU CAN CERTAINLY --

         -         -       2                      MR. OVERLAND:        NO.    WE DO HAVE AN OPPORTUNITY TO BE

                           3     HEARD ON THE APPOINTMENT.

                            4                     IF THE COURT -- UNLESS IT'S BY CONSENT --

                            5                     THE COURT:        CITE ME TO A CASE, ONE CASE, COUNSEL,                    l ^.: o

                            6    THAT SAYS THAT, .

                            7^                    MR . OVERLAND :      LOOK AT THE LANGUAGE OF 53 { B } (1 } .
-------.--_._...___.__,.-_$      ^^.._...-__._--THE--Ct^URT
                                                                : - THAT^^S- NOT--HOW ===.-_T^ON^'T--^EL^EVE I--^---------

                            9    APPOINTED HIM PURSUANT. T0.

                           10                     LET ME TAKE A LOOK HERE.                                                   x.1:0


                           11                     53 (B} (^. } TALKS ABOUT ' THE COURT MUST GIVE THE PARTIES

                           12    NOTICE AND AN OPPORTUNITY TO BE HEARD.'

r^::.:.                    13                     MR. OVERLAND :        THAT'S RIGHT.-

                       -   14                      THE COURT:       YOU'RE NOT A PARTY.

                           15                     MR. OVERLAND:         WELL, XF THE PARTIES ARE ENTITLED TO                 11:L


                           16     NOTICE, THEN CERTAINLY --

                           17                      I AM A PARTY. MR. MACHADO IS A PARTY.

                           18^                     THE COURT :      VERY WELL.

                           19                      AND YOU DID NOT RECEIVE NOTICE?

                           2D                      MR. OVERLAND :       NEVER RECEIVED NOTICE OF THAT.                       i ^.: c

                           21                      THE COURT:       YOU CAME IN THE CASE AFTERWARDS.

                           22                      MR. OVERL.^ND:       CORRECT.

                           23                      AND MR. MACHADO, T^IEREFORE, STANDS IN A DxFFERENT

                           29     POSITION, BECAUSE AS A PARTY, HEMS ENTITLED TO NOTICE BEFORE.

'^           ^^            25     THE APPOINTMENT OF A SPECIAL MASTER.                                                       zs:c




                                       -TT TTfTT I7\7   ^   -^nno                      nnvTS,Tm ^^o   h,sn mm^r
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     '              1                   THE COURT:           ANY CASE AT ALL?

                    2                   MR. OVERLAND: I THINK WE CITED IN OUR PAPERS, YOUR

                    3    HONOR.

                    ^#                   THE COURT:          YOU CITE 53 ON PAGE 3 OF YOUR OPPOSITION,

                    5    COUNSEL, AND YOU CITE TO 53 (B}(1}, BUT YOU DIDN'T CITE A CASE.                                   ^Z_p


                    6                   MR. OVERLAND:           MAYBE IT`S SELF-EVIDENT.                   MAYBE THERE

                    7    IS NO CASE BECAUSE IT'S SELF-EVIDENT,
------^_^---.---g...-
                               ^..__.__.-.THE--COUf^T:W'^CLEA^LY; THE-RUL-E-"ENVIS^"C7NS-"-NONPARTIES------- ^--

                    9.   BEING SUBJECT TO CONTEMPT PROCEEDINGS FOR NOT FOLLOWING THE

                  10     ORDERS OF THE DISCOVERY MASTER, AND A NONPARTY WOULD NEVER HAVE                                   11.0

                  ^.^.   ANY NOTICE, SO IF A NONPARTY HAD NO NOTICE AND YET THEY'RE

                  12     SUBJECT TO THE RULE, WHY WOULD NOT A SUBSEQUENTLY-SERVED PARTY

 '^:^-            ^.3    BE SUBJECT TO THE RULE? THAT DOESN`T MAKE ANY SENSE.

                  14                     MR. OVERLAND:          WELL, IT DOESN`T MAKE SENSE BECAUSE

                  15     PARTIES ARE TREATED DIFFERENTLY.                PARTIES ARE ENTITLED TO                           11_C

                  16     NOTICE, ACCORDING TO THE RULE.

                  17                     THE COURm: WHEN YOU COME INTO AN EXISTING CASE WITH

                  18     A DISCOVERY MASTER ALREADY L?ROPERLY APPOINTED, YOU COULD

                  19     CERTAINLY, I CAN SEE, HAVE GROUNDS TO OBJECT TO THE DISCOVERY

                  20     MASTER.       AND YOU`VE NEVER DONE THAT SINCE BEING BROUGHT INTO                                 Zz.[

                  21     THIS CASE.

                  22                     MR. OVERLAND:          WE ARE DOING IT.

                  23                     THE COURT:          YOU'RE DOING IT NOW. I UNDERSTAND THAT.

                  24                     MR. OVERLAND:          WE ARE DOING IT, THE FIRST OPPORTUNITY

 '       ^        25     WHEN A MOTION WAS BROUGHT WITH RESPECT TO DISCOVERY iN FRONT OF                                   11:[




                                                                           "^.•E ^. ."`...


                             7T TTT 7'l^ITV   7   h!1l1 Ci                 nnv^r Trm         trr   ti.rn mm,-.r
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                                                                     ^,
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                  1     THE MASTER.

                  2                 THE COURT:      ALL RIGHT. I'LL RECONSIDER MY POSITION

                  3     IN LIGHT OF THAT ARGUMENT, COUNSEL.

                  4                 MR. OVERLAND :     THE OTHER THING, YOUR HONOR, IS WITH

                  5    RESPECT TO MR. MACHADO -° AND I UNDERSTAND THE PROBLEM WITH                    ^.i:c

                  6     RESPECT TO THE DISCOVERY ISSUES BETWEEN MATTEL AND MCA, BUT

                  7     ^TITH RESPECT TO MR. MACHADO ■     THERE`S GOING TO BE A DISCRETE

--^                    ^ DISGO^-ERY^^I^PLTT^ ^'b^ ^I`HA^ TN^"0^5-'I`HE_^FIFTH^^NDNIENT^-CLAIM`-- ------

                  9    WITH RESPECT TO SPECIFIC QUESTIONS.

                 10                 WHAT CONCERNS ME I S WHAT I HEARD BE FORT, FROM THIS              11: i

                 11     COURfi THAT THERE'S A STANDARD OF DEFERENCE TO THE RULING OF THE

                 12    MASTER.

(^:^.            13'                THE COURT :     IT'S^THE STANDARD THAT'S SET FORTH IN THE

                 14     ORDER GOVERNING THE DISCOVERY^MASTER.-

                 15                 MR. OVERLAND :     I UNDERSTAND.'     AND WHAT^CONCERNS ME IS     ^1_t

                 16     THAT THESE RULINGS WITH RESPECT TO MR. MACHADO'S FIFTH

                 17     AMENDMENT PRIVILEGE ARE GOING TO BIND THE COURT. THEY ARE VERY

                 18     IMPORTANT ISSUES WITH RESPECT TO MR. MACHADO.

                 19                 THE COURT :     THEY .ARE.   I UNDERSTAND THAT.

      .      ^   20                 THANK YOU, COUNSEL.                                               11: t

                 21                 ANYONE ELSE WISH TO BE HEARD ON THIS?

                 22                 AND YOU .ARE REPRESENTING^THE NONPARTIES?

                 23                 MR. MCE'ARLAND:     SOME OF THEM.

                 24                 LARRY MC^'ARLAND ON BEHALF OF MS. CLOONAN, MS. LEAHY,

                 25     MS . HARLOW, MS . HALPERN, AND MS . ROCK .                                    11:




                            ^77aNiTARY ^ . 7(1f3R                  IaRV71T.T°P t]'c   rr^nmm^r
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                                                                 __._.^

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       1                   YOUR HONOR, ONE OF THE THINGS I WOULD LIKE TO ADDRESS

       2    IS, MY UNDERSTANDING, THERE IS A DEARTH OF CASE LAW, I WILL

       3    ACKNOWLEDGE.              WE'VE CITED CASE; THEY'VE CITED CASES. I DON'T

       4    THINK ANY OF THEM ARE ALL THAT ILLUMINATING, REALLY. THEY JUST

       5    KIND OF SAY IT.                            ^                                         ^^:o

       6                    THE COURT:        RIGHT.

       7                   MR. MCFARLAND:         WE UNDERSTOOD WHEN WE READ THAT IT

       8^   i^AS DONE UNDER SECTION A, WHICH WAS, OF COURSE, BY STIP^TLA`I'1bN-.

       9    SECTION C, OF COURSE, HAS A FINDING THAT IT CANNOT^BE

     10     EFFECTIVELY AND TxMELY ADDRESSED BY AN AVAILABLE DISTRICT COURT                      z1;[

     11     JUDGE OR MAGISTRATE JUDGE OF^THE DISTRICT. AND CERTAINLY, AS

     12     TO MGA AND. MATTEL, NO ONE WOULD DISPUTE THAT THERE'S A LOT

     13     GOING ON AND A LOT OF ACTIVITY, AND NO ONE TS TALKING ABOUT

     14     THAT, THAT ALL OF THOSE MASSIVE, HARD-FOUGHT BATTLES ARE BEI-NG

     1S     HANDLED BY JUDGE INFANTE.                                                            11:t

     16                     TO MY KNOWLEDGE, THUS FAR, JUDGE INFANTE HASN'T

      J.7   ISSUED ANY BINDING RULINGS WITH RESPECT TO THIRD PARTIES. IT'S

      16    ALL KIND OF COMING UP LATE IN THE GAME.

      19                    I DON'T KNOW EVERYTHING THAT'S DONE, BUT THAT'S MY

      2d    UNDERSTANDING.                                                                       ^i:

      21                    NOW, CERTAINLY, HE'S NOT ISSUED ANY WITH RESPECT TO

      22    MY CLIENTS, NOR ARE ANY MOTIONS PENDING IN FRONT OF JUDGE

      23    INFANTE WITH RESPECT TO MY CLIENTS. SO WHAT I'D LIKE TO

      24    ADDRESS WITH SOME OF MY TIME TS THIS ISSUE OF UNIFORMITY, WHICH

      25    SEEMS TO BE, I THINK, THE MOST POWERFUL ARGUMENT THEY HAVE,                          12:^
                                                           ^^^E^IT               3

                ^rr ^rrtn r.tr   '^    nnnn                 rr,.r^. irm Yr.-.   ^^^.mmr^T
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                                          ^._._
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                      1     THAT THERE NEEDS TO BE SOME HISTORY AND SOME HISTORICAL

                     .2     KNOWLEDGE.

                      3                  AND WHAT I WOULD ARGUE, YOUR HONOR, IS THAT CONGRESS

                      9    ADDRESSED THAT ISSUE WHEN THEY SET UP THE SYSTEM^OF HOW YOU

                      5     ISSUE A RULE 45 SUBPOENA. PRESUMABLY, IF CONGRESS HAD WANTED                           X1:0

                      6     EVERY RULE 45 SUBPOENA TO ISSUE OUT OF THIS COURT, REGARDLESS

                      7     OF WHERE THE DEPONENT RESIDED, IF THE DEPONENT RESIDED IN TEXAS

    ..-- -_..^^-$          ^OR-N1AI^E---OR' IM$^fiNESOTA,^OidS'T^TENT-..^^^TH--Di^PRflCES^S-; ^'REHSUMI^Bi-rY^,

                      9     CONGRESS COULD HAVE DONE THAT. BUT CONGRESS DIDN'T. AND WE

                     IO     HAVE A SYSTEM IN THIS COUNTRY^WHERE IF YOU WANT TO ISSUE A RULE                        ^.a:0

                     Z3-    95 SUBPOENA FOR A PERSON RESIDING IN TEXAS, IT HAS TO BE ISSUED

                     I2     BY THE DISTRICT COURT IN TEXAS.

     ^`'^`           ^I3                 SO IN THAT CASE, I DON'T THINK I UNDERSTAND, OR MAYBE

                     14^    I'M WRONG, IF YOU BELIEVE THAT THIS ORDER WOULD REQUIRE THE

                     7.5    DISTRICT COURT MAGISTRATE OR^ JUDGE IN TEXAS TO BE DIVESTED OF                         ^.^: c

                     16     JURISDICTION ANA FOR THIS MATTER TO BE HEARD IN FRONT OF

                     17     JUDGE INFANTE IN SAN FRANCISCO.

                     18                  IF THAT'S NOT THE CASE --

                     19                  THE COURT:'     THAT ISSUE IS REALLY NOT BEFORE THE COURT

                     20     RIGHT NOW.                                                                             ^i:c

                     21                  MR. MCFAR.LAND:       WELL, I THINK ST IS BEFORE THE COURT,                        ',

                     22^    BECAUSE THE ONLY REASON THAT THERE'S THIS UNIFORMITY ISSUE IS

                     23     BECAUSE MY CLIENT HAPPENS TO'RESIDE IN LOS ANGELES. I DON'T

                     24     THINi4 THAT'S A DISTINCTION WITHOUT A DIFFERENCE. IF UNIFORMITY

.      ^^ :      ^   25     IS A GOVERNMENT PRINCIPLE, THEN I THINK IT WOULD HAVE TO APL'LY                        7.1:c




                                 ,TANTTARY 7. ^f3flR                        RRYAN`3' V^_ MATT^:T,
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;...:.               1    TO ALL RULE 95 SUBPOENAS. AND IT CANNOT APPLY.

                     2                 THE COURT :       BUT THE COURT WOULD CERTAINLY RECONSIDER

                     3    THE EFFECT OR THE BREADTH OR REACH OF ITS ORDER IF IT WAS

                     9    OPERATING TO DIVEST A DISTRICT MIDGE ON A RULE 45 CHALLENGE IN

                     5    TEXAS, FOR EXAMPLE.           THAT'S NOT BEFORE THE COURT RIGHT NOW.           11,:0

                     6                 MR. MCFARLAND :       THE OTHER THING, TOO, IS, I THINK IT

                     7    ALSO SHOWS HOW THIS IS NOT REALLY BEING ENFORCED BY EVEN MATTE I,

                     $    IS THAT WHEN YOU GET A^ RULE ^5'^SUBPOENA, THERE ^S^LANG^TP.G^ ^^`

                     9    IT THAT TELLS YOU WHAT TO DO AS THE RECIPIENT. AGAIN, YOU GO

                   IO     INTO COURT --- YOU KNOW, YOU HAVE THESE RIGHTS UNDER RULE 45;                  ^.x:o
                   1^.    IT'S ALL THERE ON PAGE 2 OF THE STANDARD FORM.

                   12                  THIS ORDER, TO THE EXTENT IT DIVESTS THE THIRD-PARTY

['^^::=:;:.        3.3    DEPONENT OF THOSE RIGHTS -- NO NOTICE WAS EVER GIVEN TO ANY

                   14     THIRD--PARTY DEPONENT; TO MY KNOWLEDGE, THAT RATHER THAN FOLLOW

                   3.5    THE FEDERAL RULES, TiJHETHER THAT BE WHERE YOU FILE YOUR PAPERS,               11:0

                   16     THE TIMING, ALL OF THOSE OTHER ISSUES, YOU INSTE.^,D NEED TO

                   3.^7   FO^+LOW THIS ORDER.

                   3.8                  THE COURT:       LIKE^I SAY, THAT'S NOT AN ISSUE THAT --

                   ^.9    IF THAT ISSUE WERE TO COME UP, COUNSEL, I CAN SEE THAT. BEING

                   20     SOMETHING WHICH THE COURT WOULD NEED TO ADDRESS.                               11:0

                   21                  MR. MCFARLP.ND:       AND THE LAST THING, THEN, YOUR HONOR;

                   22     IS THAT I DO THINK, ESPECIALLY WITH TWO OF MY CL7ENT5,

                   23     MS. HARLOW AND MS. LEAHY, SUBPOENAS HAD ALREADY BEEN SERVED AND

                   2^!    OB3ECTIONS HAD ALREADY BEEN SERVED, ACTUALLY BEFORE THE FIRST

                   25     STAY PERIOD BACK IN 2005; SO MATTEL WAS WELL AWARE IN THAT LATE                11:0
                                                                    ^.1^.^10^^^     3



                              ^l'AN71A^2Y   7. 7f1f1R                    nRVn^rm trc A,rnmm^^
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                                           ^_^                                       `.. _

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^^
         .          1     200    TIME FRAME, WHEN THIS STIPULATION AND ORDER WAS PRESENTED

                    2     TO THE COURT, THAT THERE WERE DISPUTES, VIS-A-VIS AT LEAST

                    3     THOSE TWO OF MY WITNESSES, AND YET NO NOTICE WAS GIVEN TO THEM,

                    9     NO OPPORTUNITY TO BE HEARD AT THAT TIME. AND IF THEY HAD BEEN

                    5     HEARD AT THAT TIME, THIS UNIFORMITY KNOWLEDGE THAT NOW EXISTS ,A                                 ^l:o

                    5     YEAR LATER WOULDN'T BE USED. SN OTHER WORDS, THEY COULD HAVE

                    7     SPOKEN UP AT THAT TIME AND SAID THAT THEY FELT THAT IT WAS
               v_^-^
                         -ZI^POR^'ANT---T6^HAVE^-ACCESS^TO A--FEI^EI^AZ-JUDGE: ----------'---_...------- .`-----'-...... -----^

                    9                    :THE COURT:       SPEAKING OF DEPO5ITIONS, I^ASSUME THOSE

                   10     DEPOSITIONS THAT WE^LAST DISCUSSED WENT FORWARD IN DECEMBER?                                     X1:0

                   11                      MR. MCFARLAND:       i'M PROUD TO SAY, YOUR HONOR, THAT

                   12     ALL THREE OF MY WITNESSES APPEARED ON THE DATES THAT I

Vii..-_:.;:        13     REPRESENTED TO THIS COURT THAT THEY WOULD BE THERE .

                   14                      'SHE COURT:     EXCELLENT.       I'M VERY PLEASED TO HEAR

  .                ^5     THAT, COUNSEL.            THANK YOU VERY MUCH.                                                   11:0

                   16                      YOU MAY, COUNSEL.

                   17                      MR. DELGADFLLO:        BRYANT DELGADILLO^FOR NONPARTY

                   18     KAYE SCHOLER.                               -

                   19                      TWO QUICK POINTS.

                   2Q                       THE FIRST, AS YOU MENTIONED, THE RULES ^ OR TIMING HAD                         1a.: a

                   21     NOT BEEN RAISED. A POxNT OF CLARIFICATION, iT HAS, AT LEAST

                   22     WITH RESPECT TO KAYE SCHOLER.^ WE RESPONDED TO THE OPPOSITION

                   23     TO THEIR MOT70N PURSUANT TO THE FEDERAL RULES ON THE ORDER THAT

                    24    THEY PROVIDED AS A FIVE-DAY NOTICE PERIOD, FIVE-DAY RESPONSE

  ^ _•              25    PERIOD.        WE DIDN`T BELIEVE WE WERE BOUND BY THAT ORDER, AS WE                              1^_1
                                                                            ^^^^^^

                                                                              ^:^^
                                '1'75 TTTTTn^r '7   nnnn                        +^.-.++^.....   ^^--   ^..,-..-.-^-
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!''             1     ARGUED HERE.    WE RESPONDED IN. ACCORDANCE WITH THE FEDERAL RULE S
^.. -.
                2     OF CIVIL PROCEDURE.      AND MATTEL'S COUNSEL HAS NOW TAKEN THE

                3     POSITION BEFORE THIS COURT, AS WELL AS BEFORE JUDGE INFANTE,

                ^#    THAT OUR OPPOSITION IS TIME-BARRED AND SHOULD BE'STRICKEN. SO

                5     IT HAS BEEN RAISED. WE'VE TAKEN THAT POSITION, THAT WE                     ^^,^

                ^     COMPLIED WITH THE FEDERAL RULES, WHICH UNDER THE SUBPOENA, THE

                7     RULE 45 SUBPOENA, AS COUNSEL POINTED OUT, THERE WAS NO NOTICE

              ^"$    -GIVEN-UNDER°^THE^^UBPOENA THAW--WE-RECEIVED.^THA'T^._THE--OBUECTT"OI^^-'-^_ ^_

                9     PERIOD, ANY RESPONSE TO A MOTION TO COMPEL, WAS +^THERWTSE

              10      CHANGED,

              ^.^-               THEY DZD PROVIDE US WITH THE DISCOVERY ORDER IN THE

              12_     COURSE OF OUR MEET AND CONFERS, WHEN IT BECAME CLEAR THERE WAS

^;`.'         13'    GOING TO BE SOME OBJECTIONS TO THE SUBPOENA AND THAT WE WOULD

              1Q     HAVE TO WORK OUT. AND MOTION PRACTICE ULTIMATELY RESULTED.

              1^      THEY DID PROVIDE .US WITH THE DISCOVERY ORDER, BU'T' NOT IN                11:1

              16     CONNECTION WITH THE ACTUAL SUBPOENA THAT OUR FIRM RECEIVED.

              1?                 ANOTHER POINT IS, JUST Tfl CLARIFY AS WELL, THE

              18     DISCOVERY ORDER SAYS THAT THE PARTIES ARE RESPONSIBLE FOR

              19      PAYING FOR THE DISCOVERY REFEREE. I JUST WANT TO MAKE CLEAR

              20      THAT NONPARTIES ARE NOT GOING^TO BE REQUIRED TO PAY.                       1^:i

              21                 THE COURT:     THAT IS CORRECT.                                        ',

              22                 MR. DELGADILLO:     THANK YOU, YOUR HONOR.

              2S                 THE COURT:     THAT IS CORRECT.

              24                 MR. TIET:     KIEN TIET FOR NONPARTY STERN & GOLDBERG.

              25                 WE`RE TN THE SAME BOAT WITH KAYE & SCHOLER,.AND WE'LL x.1:1




                          JANUARY 7. ?.(3flR                  RRYA7^TT ^cr^   Nsn^rm^T.
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                                                                                                                      4$


          ^^           1    JUST JOIN IN THEIR ARGUMENT.
         _                               .
                       2                 THE COURT:,    VERY WELL.      THANK YOU.

                       3                 ANYBODY ELSE?

                       4.                MS. MORGENTHALER :    ALISA MORGENTHALER FOR NONPARTY

                       5    FARHAD LARIAN.                                                                                 - x1:^

                       ^                 AS MR. NOLAN MENTIONED, THERE HAVE BEEN 'OVER 50

                      7     THIRD--PARTY SUBPOENAS IN THIS CASE.              YET, THIS IS THE VERY

                      ^     FIRST' TYME 'FHA's JUDGE INFANTE IS BEING. ASKEI]^'^O ^ONS^DER A                        ^^--' --"^'

                      9     THIRD--PARTY SUBPOENA OR DISCOVERY MATTER THAT WOULD BIND A

                     10     THIRD PARTY THAT DID NOT CONSENT TO THE DISCOVERY REFERENCE; SO                                 11:1

                     11     I DON'T THINK SOME OF THE EFFICIENCY ISSUES '^HAT^HAVE BEEN

                     12     DISCUSSED AND THE COURTS CONCERN WITH INSTITUTIONAL MEMORY

='^ -^ ^ ^= -        13     APPLY HERE .

                     ^.^                 I THINK THAT THESE^ARE ISSUES THAT CAN BE EFFECTIVELY

                     1S     ADDRESSED BY A MAGISTRATE JUDGE, SUCH THAT THE BALANCE WEIGHS                                   11:1

                     .16    IN FAVOR OF CONSIDERING THE DUE PROCESS CONCERNS TO THE

                     I7     NONPARTIES VERSUS THE EFFICIENCY ARGUMENT TO THE-PARTIES.

                     18                  THE GOURT :    LET ME ASK YOU THE SAME QUESTION.

                     19                  ARE YOU AWARE OF ANY AUTHORITY WHICH PREVENTS THE

                     20     ASSIGNMENT OF THE THIRD PARTY TO THE DISCOVERY MASTER UNDER                                     11:1

                     21     53 (C) .

                     22                  MS. MORGENTHALER :    I`M NOT .AWARE OF ANY CASE THAT

                     23     SAYS THAT SPECIFICALLY.        I`M ALSO NOT AWARE OF ANY CASE MATTEL

                     Z4     CITED ON WHERE A NONPARTY HAS BEEN BOUND BY DISCOVERY REFERENCE

  . ^-               25     THAT WAS DONE PURSUANT TO THE STIPULATION OF THE PARTIES, WHICH                                 11:1
                                                                     ^fi^^ a D!^ _._..          ^         --    -



                                                                     f ^^^
                                 .TATTiTARV ^   ^nnsz                     aD VnT^m       'coo       ART TmT?T
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               1   IS THE CASE HERE,

              2                     THE COURT:       VERY WELL.

              3                     MS. MORGENTHALER:       I THINK ONE OF THE OTHER COUNSEL

              9    MENTIONED THAT THE CASES JUST HAVE NOT BEEN PARTICULARLY CLEAR

              5    ON THIS POINT.                                                                                  ^z^ ^
               6                    ALSO, ,JUST ONE FINAL POINT, I THINK THE PREJUDICE TO

              7    THE NONPART-IES THAT IS TAKING PLACE HERE IS ILLUSTRATED BY THE

                   FACT THAT ^OME^OF THE EVIDENCE THAT MATTEL IS RELYING ON-IN

              9    SUPPORT OF THIS MOTION, THE DECLARATION OF BRIDGET HATJLER, THE

             10    THIRD PARTIES HAVE NEVER SEEN, BECAUSE THAT DEGLARA.TION IS                                     13.: 1

             -11   FILED UNDER SEAL; IT'S DESIGNATED AEO UNDER THEIR PROTECTIVE

             12    ORDER.       SO SINCE WE'RE NOT.ATTORNEYS IN THE CASE, WE CAN'T SEE
^...
   -:        13    IT,    I'•VE NEVER SEEN IT.           WE CAN'T GET IT OFF PACER.

             14                     AND OTHER PARTICULAR LOGISTICAL PROBLEMS, WE NEVER

             15    RECEIVED HARD COPIES OF THE REPLIES WE HAD TO GET, BECAUSE                                      11: 7-

             16    INITIALLY, THE THIRD PARTIES WERE NOT ON PACER AND --

             17                     THE COURT:       THAT'S A PROBLEM WITH THE PROTECTIVE

             18    ORDER, THOUGH.              THAT'S NOT A^PROBLEM WITH THE. DISCOVERY MASTER

             19    PROCEDURE.

             20                     MS. MORGENTHALER :      RIGHT.       BUT I'VE SEEN SOME OF THE                 1.1: 1

             21    EVIDENCE THAT THEY'RE RELYING ON HERE.

             22                      THE COURT :     i AGREE, THAT SOUNDS LIKE A PROBLEM .AND

             23    THAT NEEDS TO BE ADDRESSED, BUT THAT'S NOT BEFORE THE COURT

             24    RIGHT NOW.            AND. PERHAPS IT SHOULD BE, I INVITE THE THIRD

             25    PARTIES TO. TAKE THAT UP AS APPROPRIATE, AND .I WOULD TRUST THAT                                1i_ a
                                                                  ^^^^^^^


                         T77 T77 Y7inv   •7   nnnn                    +^.-.,. .,,.t..,   .-..   _... ....^^
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              1    MATTEL WOULD BE ABLE TO ADDRESS THAT ISSUE IN A MEET AND
,.:.
              2    CONFER.     BUT THAT'S^CERTAINLY SOMETHING THAT NEEDS TO BE

              3    ADDRESSED.         EVERYONE WHO HAS BEEN AFFECTED BY AN UNDER-SEAL

              4    DOCUMENT IN LITTGATxON --- NOT TO ISSUE AN ADVISORY OPINION, BUT

              5    I'Lir GIVE YOU THE ADVICE THAT THEY SHOULD SEE ITS THAT SEEMS                    1^:.

              6    PRETTY SELF-EVIDENT.

              '^                 ^ CERTAINLY AGREE WITH YOU, COUNSEL.

              8 .^---------^_ ^ -- ^ MS . MORGENTHALER :   THANK' YOU, YOUR HONQR .

              9                 THE COURT:       THANK YOU.'

             1D                 MR. NOLAN, DO YOU HAVE ANYTHING ON THIS?                            11::

             11                 MR. NOLAN :      THE ONLY THING IS, I WANTED TO MAKE SURE

             12    I COME BACK Tp THE EX-PARTE APPLICATION THAT WE HAVE.

             13                 THE COURT :      'I HAVEN'T FORGOTTEN ABOUT IT.

             14                 MR. NOLAN^:      OKAY.     THEN I'LL WAIT.

             15                 THE COURT :      LET'S GIVE MATTED A CHANCE TO RESPOND TO           1^:.

             1^5   THIS THIRD AND FINAL MOTION THAT'S BEEN BROUGHT.

             17                 COUNSEL, REALLY, MY TENTATIVE IS IN YOUR FAVORr BUT I

             18    WOULD LIKE YOU TO ADDRESS THIS RULE 45 ISSUE THAT'S BEEN RAISED

             19    BY MR. OVERLAND AND SOME OF THE OTHER COUNSEL.

             20                 MR. ZELLER :       I. THINK, NUMBER ONE, THAT IT IS NOT             ^1::

             21    BEFORE THE COURT AT THIS JUNCTURE. IF PEOPLE HAVE

             22    PARTICULAR COMPLAINTS ---

             23                  THE COURT:      IT IS AND IT ISN'T, THOUGH, BECAUSE IT'S

             24    BEFORE -- AND x UNDERSTAND THAT IT'S NOW BEFORE JUDGE INFANTE,

             25    AND THE ORDER I5 BEING USED BY YOU AS A RESPONSE BEFORE                          11.7

                                                                ^I^^^^^T

                                                                ^^^^                 ^o
                        JANT7ARY `7.    7!1(lR                    R^RVAI^T 'T' Src   Nrnmm^r
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           '        1     JUDGE TNFANTE, AND WE'RE GETTING PRETTY CLOSE TO THE END OF                                                 •

                    2     DISCOVERY HERE.          S4 IF THIS IS A PROBT^EM -- IT APPARENTLY

 •                  3     APPEARS TD BE SOMETHING THAT WE DIDN'T FULLY ADDRESS OR THINK

                    4     THROUGH, PERHAPS,          WHEN WE WERE DOING THE DISCOVERY MASTER

                    5     MOTIONS .                                                                                               11:7.

               •    6                     MR. ZELLER: SURE.

                    ^-                    ON THAT NOTE, I'LL BE HAPPY TO ADDRESS IT AS TO THE
-----^--                                                  ----^   ---.._._....._....-.. ..-..___._   _.^------^ .._.-._.^---^__._.__._
                         ^'U^S^,^CE.. -^^..

                    9                     THE COURT': PLEASE:

                   10                 ^   MR. ZELLER :       NUMBER ONE, THE MOTION-THAT WE HAVE                                  11:1.

                   ^1     BROUGHT ONLY ASKED FOR CONFIRMATION DF THE DISCOVERY MASTER'S

                   12     AUTHORITY AS TO THIRD PARTIES WHO ARE WITHTN THE PERSONAL
    --
^^- =..            1.3    JURTSD:ICTION OF THE COURT.             THAT IS CONSISTENT WITH RULE 45.

                   14     THAT TS ALL THAT WE'VE ASKED THE COURT TO DO. NONE^OF THE

                   15     PARTIES HERE TODAY DISPUTE IN ANY WAY THAT THEY ARE CALIFORNIA                                          11:1.


                   16     RESIDENTS WHO ARE SUBJECT TO THAT AUTHORITY.

                   1'7                    T'HE COURT':      FAIR ENOUGH.

                   ^.$                    AS FAR AS THAT'S CONCERNED, I THINK I'M WITH YOU,

                   19     ALTHOUGH I DO WANT TO LOOK AT THIS ONE ISSUE RAISED BY

                   20     MR. OVERLAND.         BUT ADDRESS TT3IS RULE 45 PROBLEM.                                                11:1


                   21                     MR, ZELLER :        I THINK THAT IT MAY NOT BE -- THERE'S A

                   22     UNITARY ANSWER TO THE SECOND PART OF THE RULE 45'ISSUE^THAT WAS

                   23     RAISED.         LET ME START OFF WITH THE PARTIES WHO .ARE INVOLVED

                   24     HERE .

' ^^               25                      WHO ARE WE TALKING ABOUT?                         ^^^{^^ ]'       ^                    11:1


                                                                                             ^'A^E _       ^f

                               JAN[JARY 7.      ^(1[^^2                                 RDVnnTm ETC       T^TmmTr
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j-•.:...         1                   NUMBER ONE, KAYE SCHOLER , WHO ARE ISAAC LARIAN'S

                 2    ATTORNEYS.           THERE IS NO QUESTION THAT THEY HAVE HAD NOTICE.

                 3    WHEN WE ENGAGED THEM, AS ^CAYE .SCHOLER ADMITS , WE PROVIDED THEM

                 4    WITH A COPY OF THE DISCOVERY^MASTER ORDER , AND WE ADVISED THEM

                 5    AS TO ,   CERTAINLY, WHAT OUR VIEWPOINT WAS, AS TO WHO WAS GOING                    j s^^i

                 6    TO BE DECIDING THESE DISPUTES.

                 7                    I DON'T SEE THAT AS BEING^ANY DIFFERENT THAN,

                      NEiCE^SA^^I,Y, T^.'`E`LL^f^^^^IEONE^HO^E^TOT-A.-Z'AR^'Y^N -THE-^A:SE; rv^[7P_.._

                 9    UNTIL THAT POINT, 'WELL , HERE ' S THE NAME OF THE JUDGE WHO IS

                10    HANDLING IT.'                                                                        ^.1z1


                11                    THE COURT:      SO IS IT YOUR POSITION THAT WITH RESPECT

                12    TO EACH OF THESE THIRD PARTIES, YOU HAVE PROVIDED NOTICE?

                13                    MR. ZELLER:      THAT ' S CORRECT.

                ^.4                   THE COURT :     THEN I ' LL LET THE DISCOVERY MASTER TAEE

                15    THAT UP, AND I ' LL REVIEW THAT IF NECESSARY.                                        11. , ^.

                16                    MR . ZELLER:     WE DOI^'T NECESSARILY DISAGREE,

                17    YOUR HONOR ,         THAT OBVIOUSLY ,   IN A PARTICULAR CASE, PERHAPS THERE

                18    WOULD BE 50ME ISSUE, PRESUMABLY ,            THE PARTIES WILL DO EVERYTHING

                19    THEY CAN TO RESOLVE IT. CERTAINLY, WE WOULD GYVE PEOPLE

                20    NOTICE.

                21                    BUT ALL THEY WERE COMPLAINING ABOUT, YQU WILL NOTICE,

                22    WAS THAT THE FACE OF THE SU$^'OENA DOESN'T MENTION

                23    JUDGE INFANTE .           i'M NOT REALLY SURE THAT THAT'S A MEANINGFUL

                24    CONSIDERATION AT THIS JUNCTURE.

                25                     IT CERTAINLY WOULD NOT HAVE ANY MEANING TO A PARTY                  1^.:7



                                                                           F ^€[^ 6_

                           .71]T^TCZ2IRV   ^   ^nnQ                   nTl u7^7.7m zrn   ^Fn mmr.^s
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             1    WHO IS OUTSIDE THE COURT'S PERSONAL JURISDICTION, BECAUSE I -

             2    DON'T THINK WE NECESSARILY DxSAGREE THAT IF IT'S AN

             3    OUT--OF--STATE PARTY, THEN THA`^.' SUBI^OENA IS GOING TO HAVE TO BE

             4    DEALT WITH BY A DISTRICT COURT WHO HAS PERSONAL JURISDICTION IN

             5    ACCORDANCE WITH THE NORMAL RULES.                                                         11:1

             6                  THE COURT:      RIGHT.

             7                 Mtg. ZELLER:      I MEAN, ALL WE'RE TALKING ABOUT HERE ARE

             ^ -BAR-^'3^^,...-N{3NPP^T-^E^-; ---WHO-^F:E--C-IiE^AR3^Y^-ird-i^'HI^-^HE^^tTSD-Z-CTTON._-0^,

             9    THE COURT; SO WE'RE NOT PUSHING THE ENVELOPE ON THAT BY ANY

            i0    STRETCH OF THE IMAGINATION, YOUR HONOR.                                                   3.1.1'


            I1                  THE COURT:      VERY WELL.

            i2                  WHILE YOU'RE AT THE LECTERN, LET'S SHIFT GEARS TO THE

             13   EX-PARTS A£^PLICATION THAT'S BEEN BROUGHT BY MGA AND
^..      -..-
             14   CARTER BRYANT.

            15                 .MR. QUINN:      I'D BE HAPPY TO ADDRESS IT, YOUR HONOR.                     11: 1f


             L6                 THE COURT:      ALL RIGHT.       SOMEBODY.

             L7                 BECAUSE I TEND TO AGREE WITH MGA AND CARTER BRYANT ON

             l8   THIS ONE. I DON'T THINK, BASED ON MY READING OF THE LAW -- AND

             L9   I KNOW THERE'S NOTHING CLEARLY ON POINT, AND YOU BOTH CITE TO A

            ZO    VARIETY OF CASES TN THE COMMENTARY AND iN THE RULE ITSELF, BUT                            13.: ^^

            21    MY SENSE I5 THAT THE 30(B)(6) DEPOSITIONS DO NOT COUNT TOWARDS

            22    THE NUMBER OF ALLOTTED DEPOSITIONS. I THINK THAT'S PROBABLY

            23    THE SAFEST WAY TO INTERPRET THE STATUTE, THE RULE, AND THE

            24    CASES THAT HAVE ATTEMPTED TO GRAPPLE WITH THAT RULE.

            25                  I UNDERSTAND THAT THEY, FROM YOUR PERSPECTIVE, WENT                         1a:xE




                        JANUARY 7, 20Q8                             BRYAN`[` STS   MAT'^'x'T
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 {                 1    AFIELD OF THE 30 (B}(6) TOPICS, BUT THAT'S PERMITTED. AND IN

                   '2   TERMS OF THE ACTUAL COUNTING, I DON'T THINK THAT IT DOES US ANY

                   3    GOOD HERE AT THIS POINT TO TRY TO FIGURE OUT HOW FAR AFIELD

                   4    THEY WENT AND WHETHER THAT COUNTS.

                   5.                     MY TENTATIVE WOULD BE TO ONLY COUNT THOSE AS 30 (B}(6}                11:3

                   6    DEPOSITIONS -- THOSE WOULD ALL COUNT TOWARDS ONE OF THE MATTEL.

                   7                      MR. QUINN :    I UNDERSTAND. YOUR HONOR_
                            -_ ^_
         - - ^^    8-- --              ^^^^-^ MY FIRST RESPONSE IS, • WE'RE DEALING WISH THIS ^ONVAN

                   9    EX--PARTS BASIS . '                    ^                                       _

                  10                      THE COURT:     I UNDERSTAND THE CONCERN HERE.                         11:7

                  11                      MR. QUINN:     LET'S SET THAT ASIDE:

                  ^.2                     THE COURT :,   IF WE WEREN'T THREE WEEKS AWAY FROM THIS,

..t,:^            13.   I'D-PROBABLY TELL YOU ALL TO GO TO THE DISCOVERY MASTER.

                  14                      MR, QUINN:     INDEED,   AND THAT WAS GOING TO BE MY

                  15    SECOND POINT, :YOUR HONOR. I 'CHINK THIS- IS AN INFANTE ISSUE .                         13.: ^


                  16                      THE COURT :    IT PROBABLY I'S, COUNSEL..

                  17                      MR. QUINN :    SO THIRD, I AGREE WITH^THE^GENERAL

                  1$    PRINCIPAL THAT THAT'S JUST A 30 [B}[6} DEPOSITION. BUT TF YOU

                  19    TAKE A 30(B}[6} DEPOSITION AND YOU ESSENTIALLY ABANDON -- I'LL

                  20    GIVE YOU A HYPOTHETICAL NOW ---^ YOU .ABANDON THE TOPIC, YOU                            3.i:2

                  21    ADDRESS THE TOPIC AND THEN YOU GO FAR OFF THE RESERVATIONS, AND

                  22    YOU'RE REALLY DEPOSING THAT WITNESS AS AN TNDxVIDUAL FACT

                  23    WITNESS, THEN IT'S CONVERTED INTO AN INDIVIDUAL DEPOSITION.

                  24                      THE COURT:     AND I GUESS x UNDERSTAND THAT.

                  25                      MR, QUINN:     THERE'S CASE LAW THAT SAYS THAT.                       ^1:z




                                    JANUARY ^], 2QQ8                    RRYl1nTT VC   M7lTmx'r
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                                        ^..._.
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                   1                    THE COURT:    I UNDERSTAND THAT ARGUMENT. BUT YOU
 !`.:.::.
                   2    CHOOSE WHO YOU BRING AS YOUR 30{B }(6}          WITNESSES, AND THEY

      .            3    DON'T.     I aTUST THINK IT GOES DOWN A DIFFICULT ROAD.

                   9          ^         I'M NOT SAYING THIS IS A PERFECT DECISION ON THIS. I

                   5    THINK WE NEED TO COME UP WITH A GROUND RULE, AND^I THINK THE                        1;2

                   6    GROUND .RULE I'M LEANING TOWARDS^IS, LET'S NOT COUNT THE

                   7    30{B}(6'} WITNESSES TOWARDS THE DEPOSITION TOTAL.

---^^-------            - ------        MR. QU^NN :__I^WOULD^POrNT OUT, YOUR ROI^IOR, THAT T.T---- ---     --^

                   9    CREATES A POTENTIAL LOOPHOLE THAT TRUCKS CAN DRIVE THROUGH..

                  10                    THE COURT:    I UNDERSTAND IT DOES. AND^THE ONLY THING             11:2


                  11    THAT STOPS THE LOOPHOLE IS THAT YOU GET TO CONTR^7L THAT; YOU

                  12    GET TO CONTROL YOUR 30{B}{6} DEPOSITIONS WITNESSES TO A CERTAIN

 ^;,:;-::i        13    EXTENT AND THEY GET TO CONTROL THEIRS .                     .

                  14                    MR. QUINN :   THE PROBLEM IS, WE D^N'T^GET TO CONTROL

                  15    WHAT THEY ASK.                                                                     11:2


                  16                    THE COURT:    N0.

                  ^.7                   MR. QUTNN :   ONCE THE PERSON IS IN THE CHAIR, THEY CAN

                  18    BE ASKED THINGS OUTSIDE THE SCOPE.

                  19                    THE COURT :    SO PICK WHO YOU PUT IN THE CHAIR

                  20     CARE FULLY .                                                                      ^^:2

                  21                    MR. QUTNN :    THE RULE GIVES US, REALLY,^SOME

                  22     REQUIREMENTS THERE.          WE'RE SUPPOSED TO PUT SOMEBODY WHO'S MOST

                  23     KNOWLEDGEABLE AND NOT TRY TO BE DEFENSIVE AND GIVE THEM

                  24     SOMEBODY WHO WOULDN`T NECESSARILY HAVE THE BEST T^70WLEDGE ON
 ,^
                  25     THE DESIGNATED SUBJECT BUT DOESN'T KNOW ANYTHING ELSE.                            11:2




                             JANTTARY 7- 7n(1R                        RD V7I TTT   cm   7,.i^mmr..r
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                1                THE COURT: .AND THAT LEADS TO THE OPENNESS AND THE

                2    TRANSPARENCY OF THE WHOLE PROCESS.

                3               ^ MR. QUINN :   THERE YOU G0.

                4                THE COURT ;    SO THE EX--PARTS APPLICATIQi^ IS GRANTED,

                5    UNLESS MR. NOLAN WANTS TO CDNVINCE ME QTHERWISE .                 ^             13.:F

                5                MR. NOLAN :    N0.   I LIKE WINNING.            .

                7                 I THINK IT'S ALSO NICE BECAUSE IT DOESN'T MAKE ME

------.^^._ 8 ^-^HA^TE^'U-'-SAY'-THAT;^EEr-TT^'-a ^T1R=OUS^TAA^'^WHEN -WE--WERE---BACK-HER^__.. _.._-

                9    ON OCTOBER ZSTH ---

              ^. 0                THE COURT :   I UNDERSTAND .    THAT CERTAI3'TLY COLORS THE        3.^ :

          •   11     CQURT'S RULSNG ON THIS AS WELL.

              12                 MR. QUINN :    BUT, YOUR HONOR, JUST SD WE'RE ALL CLEAR

 "^^          13     WI-IAT THE RESULTS OF THE EX-PARTS IS .
t^                                              ..                                                    ..
              14                  THE COURT: I'LL TRY TO WRITE AREAL CLEAR ORDER THIS

              15     TIME.                                                                           ^^:^

              15                  MR. QUINN :   THERE'S TEN INDIVIDUALS -- IN ADDITION TO

              17     THE 30{B}{6} SUBJECTS, THERE ARE TEN INDIVIDUALS NOW T3iAT

              18     THEY'RE ASKING US TO PRODUCE BY THE 28TH Off' JANUARY.

              19        ^         THE COURT :   AS YOU SAID EARLIER, MR. QUINN, YOU HAVE

              '20    A LOT OF WORK T O DD .                                                          11=

              21                  MR. QUINN:    THANK YOU, YOUR HONOR.

              22                  THE COURT:    THANK YOU, COUNSEL.

              .23                 GOOD-DAY.

              24                  MR. QUINN:    YOUR HONOR, I ASSUME THEY STILL HAVE TO

   .^         25     BE SERVED WITH SUBPOENAS IF THEY'RE. NONPARTIES.                                17.:^



                                                             RAGE .,..._._._.._^_ ^^L^
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                    1                  THE COURT:         S THINK THAT'S PART OF THE RULES.
r.... .

                    2                  MR, NOLAN :        OKAY.   YOUR .HONOR, THESE LAST-MINUTE

                    3    'HAIL MARY' PASSES CAUSE A LOT OF CONFUSION. I'VE JUST GOT TO

                    4    ADDRESS THIS.

                    5                  UP UNTIL NOW, MATTEL HAS ALWAYS INDICATED -- FIRST OF 11 ; z

                    6    ALL, THEY NEVER OBJECTED TO THE FACT -THAT WE DIDN'T ISSUE

                    7    SUBPOENAS.        BUT WE'LL ISSUE SUBPOENAS.                                 .

- ----------                 ---'v^._.,^T__^IATTE^1^-^^T^ Z3E^,^THORZEED-'I'0-AI;CEP^T-SUBPOENAS; ^ _^

                    9    BECAUSE THEY HAVE OBJECTED IN THE PAST WHEN I'VE`TRIED TO SERVE

                   10    SUBPOENAS OR SOMEBODY HA5 SERVED SUBPOENAS ON THEM.                                   11:2

                   11                  WILL THEY ACCEPT SUBPOENAS FOR THESE EMPLOYEES?

                   I2                   THE COURT:        MR. QUINN, WILL YOU ACCEPT SUBPOENAS FOR ,

l`;.. ^.       ^   13    YOUR MATTEL EMPLOYEES?

                   14                  MR. QUINN :        NOT EX-EMPLOYEES.     MOST OF THESE ARE

                   I5    EX-EMPLOYEES.

                   16.                  AND I'VE GOT TO DEFER TO MR. ZELLER ABOUT THE

                   17    COMMITMENTS THAT WE'VE MADE BEFORE ,            WHICH WE .STAND BY.

                   18                   MR. ZELLER:        WE ABSOLUTELY STAND BY IT: BUT THAI IS

                   19    NOT A CORRECT STATEMENT OF WHAT'S GOING ON HERE.

                   2Q                   NUMBER ONE, TWO OF THE PEOPLE WHO ARE IDENTIFIED                       11:2

              .    21    HERE, MILT ZABLOW AND ROB SIMONEAU, ARE EX-EMPLOYEES. THEY^ARE

                   22    NOT EVEN CURRENT MATTEL EMPLOYEES. THEY'VE NEVER SEEN SERVED

                   23    WITH A SUBPOENA. WE'VE. NEVER BEEN ASKED TO ACCEPT SERVICE OF

                   24    SUBPOENA FOR THEM. SO THEY ARE EX-EMPLOYEES. THE OTHER

                   25    PEOPLE, A NUMBER OF THEM, EXCEPT FOR THREE, ARE LOW-LEVEL                             11:2




                             ,T71nT3'ila12Y ^   'J(1f9R                  RT]'vnrrm 'trc   nrtnm*r^T
              Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 72 of 101 Page ID
                                                #:46572

                                                                                                                         58


       .            1     EMPLOYEES WHO ARE NOT SUBJECT TO RULE S0.
^' ..^ .
    ^^              2                    NOW, WHAT WE HAVE SAID IN TERMS OF OUR

                    3     REPRESENTATIONS TO ACCEPT SERVICE IS VERY SPECIFIC. IT IS

                    4     MATTEL'S CURRENT DIRECTORS AND OFFICERS, IT DOES NOT EXTEND TO

                    5.    PEOPLE WHO ARE FORMER. WE HAVE SAID, CERTAINLY, TF THERE ARE                                           11:2

                    5     FORMER PEOPLE THAT THEY WANT TO ASK US ABOUT --

                    7                    THE COURT :     I'M GOING TO S`10P YOU HERE FOR A SECOND.

----------....-...--g^--- ........... . ....._------THI.S._IS..^EYOND-'T'HE`-SCOPE--^OF-THE-EX-^PA^tTE-^I'LTC^i{I`-ibN':._..-

                    9-                   ALL I'M DOING IS, TsM GRANTING THE EX-PARTS

                   10     APPLICATION IN TERMS OF THE COUNTING OF THE WITNESSES. I'M NOT ^^1:z

                   11     GOING TO WADE INTO -- I NEED TO RETRACT MY STATER'fENT IN TERMS

                   12     OF WHAT -- I'M NOT OFFERING ANY RULING RIGHT NOW WITH RESPECT

   °' ^ ^^'
ts`^°^             13     TO THE SERVICE OF SUBPOENAS .
  . ;...
                   14                    MR. NOLAN :     FINE, YOUR HONOR.

                   15                    COULD YOU JHST ORDER MATTEL TO .ADVISE T3S BY CLOSE OF                                  ^^: z

                   16     BUSINESS TODAY OF THE TEN WHO THEY REPRESENT AND'WHO THEY

                   17     DON'T.        I THINEi THAT'S REASONABLE, ISN{T IT?,

                   18                    MR. QUINN :      THAT'S NO PROBLEM.

                   19                     THE COURT:     VERY GOOD.          THAT'S NOT A PROBLEM.

                   20                     THANK YOU, COUNSEL .                                                                  ^ 11: 2

                   21

                   22

                   2 3'

                   24     /   /     /




                                                                             PACE               ^ ^

                                  JANUARY 7, 2008                               RRYA^TT v^ . NfATT^'^.
            Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 73 of 101 Page ID
                                              #:46573
                                                                                 ^• .._..^

                                                                                                                                  59



                      1                                       CERTIFICATE
i^^--
                      2

                      3   I HEREBY CERTIFY THAT PURSUANT .TO SECTION 753, TITLE 28, UNITE D
        '                 STATES CODE, THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF
                      4   THE STENOGRAPHICALLY RECORDED PROCEEDINGS HELD .IN THE ABOVE-
                          ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE FORMAT IS IN
                      5   CONFORMANCE WITH THE REGULATIONS OF THE JCFD_ICrAL CONFERENCE OF
                          SHE UNITED STATES.
                      6


                 _        TH ESA A, L^NZ_ ,_CS , _               _ _   -°                                    DATE
                      8   FEDERAL OFFICI   CO T                TER Y                                    -- - ^^-       - -^--^- - _ ^-

                      9

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       .^            25                                                ^^^^^^^                            `^

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                              TT TIT'TT TT t7 '7   nnnn                     ,-, .^,..^.. ._...   .._^     _ __ -_-..
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 74 of 101 Page ID
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                                                    EXHIBIT 4
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                                  #:46575




                               EXHIBIT 4

                   CONFIDENTIAL
      THIS EXHIBIT FILED UNDER SEAL PURSUANT
                         TO
            PROTECTIVE ORDER OF 1- 4 -2Q45
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 76 of 101 Page ID
                                  #:46576




                                                    EXHIBIT 5
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 77 of 101 Page ID
                                  #:46577




                               EXHIBIT 5

                   CONFIDENTIAL
      THIS EXHIBIT FILED UNDER SEAL PURSUANT
                         TO
            PROTECTIVE ORDER OF 1- 4 -2005
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 78 of 101 Page ID
                                  #:46578




                                                    EXHIBIT 6
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                                  #:46579




  EXHIBIT 6 INTENTIONALLY LEFT BLANK




   EXHIBIT 6, PAGE 81-EXHIBIT 6, PAGE 90
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                                  #:46580




                                                    EXHIBIT 7
      Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 81 of 101 Page ID
                                        #:46581




                    1    QU1NN EMANCTEL UR^UHART OLIVER & HEDGES, LLP
                          John B. Quinn Bar No. 0378)
                   2      (^ol^nquinn qgwnnemanuel.cam))
                          Michael T.^eller (Bar No. 196417}
                   3      ^michaelzeller^7
                                         a quinnemanuel.com}
                           on D. Carey ar No. 185066
                   4    ^oncorey(a^quinnemanuel.cozn
                       8 South FFi"gueroa Street, 10th loor
                    5 'Los. Angeles, California 90017-2543-
                       TelePhane: 213) 443-3000
                    6 Facsimile: (13) 443-3100              .
                    7 Attorneys for Mattel, Inc:
                    8                            UNITED STATES DISTRICT COURT
                   9                         CENTRAL DISTRICT OF CALIFORNIA
                   10                                 EASTERN DIVISION
                   11 'CARTER BRYANT, an individual,              CASE NO. CV 04-9049 SGL {RNSx)
                                                                  Consolidated with
                   12                                             Case Nos . CV 04-09059 & CV 05-2727
                                    Plaintiff,
                   13
                              vs,
                   14                                             DECLARATIONS OF KENNETI-l
                                                                  WRIGHT, RUDY" FLORES, AND
                   15    MATTEL, INC., a Delaware                 MIGUEL LEYVA IN SUPPORT 'OF
                         corporation,                             MATTEL, ING'S REPLY TO RESPONSE
                   16                                             TO OSC
                   17               Defendant.                    Date: February 25, 2008
                                                                  Time: ^ 0:00 a.m.
                   18                                             Place: Courtroom 1
                         AND CONSOLIDATED ACTIONS
                   19                                             Phase X
                                                                  Discovery Cut-Off 3anuaryz0^8008
                   20                                             Pre-Trial Conference: May 55
                                                                  Trial Date:           May 2^/, 2008
                   21
                   22
                   23
                   24
                   25
                   2b
                   27                                                        ^1B^T          ^
                   28^
                                                                  !^        PAGE          ^^
67209!13$9597: ]                                            ^-#
                                                                              DECLARATIONS IN SLJPPOR'F OF REPLY
    Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 82 of 101 Page ID
                                      #:46582




                   1                             DECLARATION OF KENNETH WRXGHT
                   2                       I, Kenneth Wright, declare as follows:
                   3                        l.    I am a process sever for Now Legal Service, registered in the
                   4   ''State of California by the County Clerk of Los Angeles, our regastra-tion number
                   5           being 5426. My^business address is 1301 West 2nd Street, Suite 206, Los Angeles,
                   6           CA 90026. I make this declaration of my personal and firsthand knowledge; and if
                   7   !called and sworn as a-witness, I could and would testify- competently hereto.
                   8                       2.     On January 14, 200$, I received an assignment from our client,
                   9           Quinn Emanuel Urquhart Oliver & Hedges, LLP, to serve Sarah Halpern with a
                  to           federal deposition subpoena. The address provided was of a residence at 141$
                       i
                  11           Hillcrest Avenue, Glendale, CA 91202.
                  12                       3.     I .first attempted service at the Hillcrest Avenue-address on
                  13           Monday, January 14, 200$, at 8:00 p.m. I saw a Toyota Highlander at the address
                  14           and.knocked on the door. No ane answered, although X heard dogs barking inside
                  15           the premise. There was also no answer when I returned to the Hillcrest Avenue
                  16           address and knocked on the door on Monday, January 14, 2008, at 9:35 p.m.;
                  17           Tuesday, January 15, 2008, at 7:00 p.m.;l7Vednesday; January 16, 2008, at
                  18           7:20 a.m.; Thursday, January 17, 2008, at 5:30 p.m.; Friday, January 1$, 2008, at
                  19           8:30 p:m.; Saturday, January 19, 2008, at 2:30 p,m.; Sunday, January 20, 2008, at
                  2p           11:00 a.m.;.and Monday, January 2I, 2008 at 9:00 p.m.
                  21                        4.    On Wednesday, January 16; 2008, I obtained a phone number
                  22           attributed to Sarah. Halpern and called it to arrange service. A man who identified
                  23           himself as Ms. Halpern's husband answered and said Ms. Halpern is "hardly ever
                  24           home:" I called again on Monday, January 2$, 2008, and asked to speak with Ms.
                  25           Halpern. The same man again told me that she was not available and was hardly
                  26 ^ ever home.

                  27                                                        ^^^^^^^
                  zs                                                                        ^Z
                                                                             PAGE
o7zavr^asss^a.^
                                                                                      DECi,AR-A.TION QF KENNETH WRIGHT
                           ^                                                                                             i
     Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 83 of 101 Page ID
                           r^^         #:46583
                                            \_._.




                     1                5.            ^ returned to the Hillcrest Avenue address on Saturday, January
                    2 25, 2408, at 4:34 p.m. X noticed that the Highlander and a Ford Escape were parked

                    3     at the address. I lrnocked on the door but no one answered.
                                       6.           I again returned to the Hillcrest Avenue address on Sunday,
                    5     January 27, 2048, at 9:34 p.m. to attempt service. Tlae Highiander^ and Ford Escape
                     6    were present. However, when X knocked on the door,. no one answered.
                    7                 Z declare under penalty of per^ury.under the laws of the United States of
                     8    America and the State of Califomia that the foregoing is true and correct.
                     9                 Executed on February 19, 200$, at Los Angeles, California.
                    10

                    11

                    12                                                  Ke       Wright

                    13

                    14

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                                                                                    PAGE ,        ^^
07209123B95'78. ^
                                                                                        DECLARATION OF KENNETH WRIGHT
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 84 of 101 Page ID
                                  #:46584
                              `                                           ^.. .^



         Case :04-cv-C39049-5GL-RN8        ©ocurr^ent 1724-8 ^ Filed 01/2812fl0$      Page 1fl of 14



             l               I, Ketmetii Wright,, declare as follows:
            ^                1.     I axu apracess service server fir No^vv L^ga1 ^e.^rvice, registered
            3 in the State ofCalifornia by the^Caur^ty. ^ler>^ nfI^s .,A.ngeles, our r^gistxation
            ^° nurnlaeriizg being 526. My business .address is^ I3t^1 ^'est.2n^l^Street, 8.uit^20b,
            5^ Las . ^ngeles, CA^ 9D0^6'l. I male this declaration afpBrsonal , ^rsth^rd knowledge

            5 and, sf called and'swarn ^^ a witness, I rAUld and would ,testify competently thereto.
            ^                2.     On or about January 17, 2008, I receix^ed art ^syg^eist from our
            8 .client {^uinn Rmandel Urquhart Oliver        Hedges LLP^toservcPederal Civil
            g^ subpoenas on Peter ^. MarloWx Veronica 1VIarl^aw, Inc., Dall Bag;. Inc., and IVIarIQw
           10,^ TeehntrLogic. ,. hie. The address provided far Mr: iVlarIow aiu^ the three entities
           11. was a^ residence of ^ ^ZSO .W^odley avenue, Granada ITiIIs, ^A ^ 1344 t``the
           12 Residence").
           13                3.     Y+^1ten I ^`st a#teirtpted service an Jariuaxy 17; 2008 at 3:^4 p.m.,
           l4 T save two vehicles paif^ed iii the driveway, a 13M1^ and Me^cede^ Benz, and a red
           i ^ Honda ^pil^at parked Vin: the .street in front of the Residence.. Ati3mugh there 4vere
           16. lights on at the ResiAex^Ge, when I rang the doorbell, no one answered, l their-saw a
           1.7 man ^t 1^e house next dour and vvaerrt to spear with hitn. T'he znan would not give
           18^ rtte his Hance, but ct^nftrn^ed that he Lived in the house, new door to Are Residence.
           l ^ ^He told me that he had dot seen Mr. Marlow ar anynne at the Residence in a few
           2U .days.
           21.               ^:     ^Z. marie^furthet attempts ors Janu^^ I^; 2008 apt 8:1.5 p.rn.,

           22 January .l $; 200.$ at ir:30 a.m., .lanuaxy l 9;2008 at 10:35 am.,:Ja^uaty 2.Q, X008 at
           23 °I0;2U p:m., and Jaritiary.^l, 2048 at 83U a.m..F^ach^tirne I returned^ty the
           24. Residenca,^tha soma vehicles were ^rlced inthe same locat?ans, the sarue.liglits
           tiS^ wee on ^irr the. Residence, and no one a^vsrered the doorv^^li^ri I rang the door bell.
           2^6               5.     (3n Janvarq 22, 2Q0$; I conducted a 7.5 hour stakeout at the
           ^7 Re^sidenca from 1:3Q p,m. unfit 9:30 p.m. The same vehicles wire in the sarn^e place


an^t.i
           ^^ ^                                             -l -
                                                                      PACE              ^`!^^
                                         AE^LELRATYON C]F 1CEMVE'FH WR^][3HT^R•^GA3tDMG A7'"f^Nl^'fED SERVICE
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 85 of 101 Page ID
                                  #:46585



        Case^:D^i-cv-09049-SGL-RNS       Docoment 9724-8         ^i[ed D9I2812D08     Page ^ 9 of 94



           I '^ntl the same lights were tit m the Residenee,.but I savr rta other actiuity at the
           2 Reside^tce at a11 . ^d rto one answered the dvor_
           ^               b^.    T rr^a;<ie my final atterrtpt on ,Tattuar5r ^3i 2^(IS at 1 U:30 a,m. The
           4' ^ehic^es were ^tili the and lights still art. Na tine answered the door when I range
           ^^ tie bell.
           5               I deala^e• under penalty of perjurl+ under the laws of the'^rtited States of
           ?: Amarica that the I'anegaing is true ^d correct.
           8.              Executes an January ^^5, 2^^8, at I:os Atsgeless, California.
           ^                                                                                     t
          1^^
                                                           K e right
          II
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          l 3^                                                                                                   .
          I4          -                                                                                              j
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e^,.^                                                           PAGE          ^^
                                        o^ct.ax^,rro^ o^ ^^n^ vu^^cxr a^c^nn^c ^rr^r^t^ s^>zv^cs
     Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 86 of 101 Page ID
                                       #:46586
                                           r                                      ^^




                    1                            DECLAR-ATION OF MCGUEL LEYVA
                    2                 I, Miguel Leyva, declare as follows:
                    3                 1.       I am a process server for Now Legal Service, registered in the
                    4 State of California by the County Clerk of Los Angeles, our registration number
                    S 'being 5426. I make this declaration of my personal and firsthand knovcrledge and, if
                    6 called and sworn as a witness, I could and would testify competently hereto.
                    7                                        Larry N1cFaxland
                    8                 2.       On January 14, 2008, I received an assignment from our client,
                    9 Quinn Emanuel Urquhart Oliver & Hedges, LLP, to serve Larry McFarland with a
                   10 federal deposition subpoena. The address provided was of a business^ioeated at
                   11 9920 Wilshire Boulevard, Penthouse, Beverly Hills, CA 90211.
                   12                 3.       The office was apparently closed when I attempted service on
                   13 ^' Monday, January 1 ^, 2008, at 5:15 p.m. When I returned on Tuesday, January 15,
                   14 2008, at 12:30 p.m., I was informed by the receptionist that Mr. McFarland would-
                   15 ^ be out of the off ce-for an undetermined period. The receptionist also informed me
                   l6 that Mr. McFarland was not present at the office when I rriade farther attempts on
                   17 Wednesday, January 16, 2008, at 11:30 a.m., and Tuesday, January 22, 200$, at
                   18 ^ 12:30 p.in.
                   19                 4.       I also attempted to serve Mr. McFarland at a residential address,
                   20 1991 Outpost, Los Angeles, CA. I fist attempted service at the Outpost address on
                   21 Friday, January 25, 2008, at 5:15 p.m. I knocked on the door, but no one answered.
                   22 I similarly attempted service at the Outpost address on Saturday, January 26, 2008,
                   23 at 3:15 p.in. and Sunday, January 27, 2008, at 7:30 p.m:, but no one ever answered
                   24 the door.
                   25                                           Lucy Aranfi

                   26                 5.       On January 16; 2008, I received an assignment from our client,

                   27^ Quinn Emanuel Urquhart OIiver & Hedges, LLP, to serve Lucy Arant with a federal
                   28 deposition subpoena. The addresses provided were of a business located at 11377
072Q9/L389597, 3        ^^                                            _^
                                                                                     DECL^^^OF MIGUEL LEYVA^


                                                                                          n ■ ....              /^,/_
     Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 87 of 101 Page ID
                           r           #:46587
                                         `^.. ^                                 ^




                    1 i West Olympic Boulevard, Los Angeles, CA 90064, and of a residence located at
                    2 3119 South Durango, #4, Los Angeles, CA. 90034.
                    3               6.        I first went to the Durango address ors '^ednesday, January 16,
                    4 1200$, at 9:30 p.m. and attempted to contact Ms. Aranf using the security intercom.

                    5 ^, There was no answer to the security intercom. I tried the Olympic residence address
                    6 on Thursday, January 17, 200$, at 10: 00 a.m . When I asked the receptionist to see
                    7 Ms. Ararat, the she said Ms. Ararat was not there.                      .
                    8               7.        I atterpted service at the Durango address again on Thursday,
                    9 January 17, 2008, at .7:45 p.m. Because the intercom was not working, I could not
                   10 'gain access to the grau^ds. I encountered the same situation on Friday, January 18,
                   11 2008, at 8:15 p.m.; Saturday; January 19, 2008, at 9:20^a.m.; Sunday, January 20,
                   12 12008, at 8:30 a.in.; and Monday, January 21, 2008, at 9:00 p.m. When the intercom
                   13 was down again on Tuesday, January 22, 2008, at 6:30 p.m., I asked a neighbor to
                   14 knock an Ms. Arant's door. The neighbor did so but there was na answer.
                   15               8.        T attempted service again at the Durango address on Wednesday,
                   16 January 23, 2005, by conducting astake-out from 7:00 p.m. to 9:00 p.m. During
                   17 this time period, I saw no one enter ar leave the residence at the Durango address.
                   ]8               9.        I attempted service again at the Olympic address on Thursday,
                   19 January 24, 200&, but the receptionist told me that Ms. Ararat would not be in the
                   20 office all day.
                   21
                   22
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                                                                            ^AG^                  ^^
0720912.369547.1
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                                                                                    DBCLAR.AT[ON OF MIGllEI. LEYVA
.... ___   Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 88 of 101 Page ID
                                 ^'^         #:46588
                                            ^.,._^^




                          1               10.     I attempted three more times to serve Ms. Larant at the Durango
                          2 address on Friday, January 25, 2008, at 8:15 p.m.; Saturday, January 26; 2008, at
                         3 3:15 p.m.; and Sunday, January 27, 200$, at 8:45 p.m. On each occasion I
                         4 attempted to contact anyone at the residence by using the security intercom, but no
                         5 ane answered:
                         6
                          7              I declare under penalty of perjury under the laws of the United States of
                         S America and the State of California that the foregoing is ire and correct.
                         9               Executed an February ^}0$, at Los Angeles, California.
                         l0
                         11
                                                                        Miguel Leyva
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                               __                                       -^-
                                                                                       DECLARATION OF M^GUEL LEYVA
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 89 of 101 Page ID
                                  #:46589
                             ^,....                                               _.



                  x:04-cv-09049-SGL-C^N6 ^ ^oeument X724-8              r=iled 07/2ffI2008   Page 4 ©f 14


            1.^
                             I, Rudy F^lorss, declare ^as follo.^v's:
            2                 1.      I am a pro^es^ service server fir Now Legal: Service, registered
            3^. in the Stake. of Calilamia-by the County ^Ierk of Lps ,Angeles, our registration
            4. nu^nherixlg being 526, My business address is 1301 ^'4^est 2nd ^#`eet, Mite 206,
            ^. Los An^Ies, CA 9^0(}5^. I make this declaratinn^af p^rsonalr firsthand l^rtowledg^
            b. mod, if called and sworn ass a witness; I could and would testify competently thereto.
            7                2,       Ori January I6, 2008, I received an assignment'frona vui• client
            8 Quixm Emanuel IJ"x^uhart Oliver ^ Hedges LLP to ^ serve Federal Civil Subpoenas
           .9 pit Peter ^. }Marlow, Veror13ca Marloz^v^, Inc., Doll Sag, Inc., and Marlow Teclino^
           la. ^,ogfc ., Inc: The ad'claress grc3vided for IVir. Marlow and the three. entities was a
           II residence of 12^50^Woodley A:.v+enue, Granada Hills, CA 9Y^44 ("the Residence"^.
           Ix^               ^.       I J•Irst attempted sert^iee on January l 6, 2Cf08 ^t x:30 p.m.. I rang
           13^ t the doorbell but no one answered,
           1^.                4.      Rrhen I returned to•the RESidenGe at 8:1^ g,m, on^ .Janliary I B,
           1 ^ 20'08, for another aiternpt, I saw .twa vel^ieles in tFte. drivevway, a^ B^vIW and iYrercedes
           1 ¢:^ Sez^. Although #l^re were lights on in the Residence, ^wlzen I rang ^e doorbell, no
           17 one answered.
           1$                 S,      I-made furthe^r .at#empts on January .17, 2408 at 7:40 $,m. and at
           l ^^ 9:00 a.m. The same two vehicles were in the dr^^?eway and the same lights were on
           2U in the Residence . CJrlce ag^iin; no one answered the dcaar. I also^did^tlat see anyone
           27 entez^ng or leaving the home during a 7a minute stake^ozrt until l 4:30 a.m.
           22                 I declate under ^enalxy ofperjury Pander ^e laws ofthe i,iilited States Q^
           23 America that the foregoing is true and correct.
           24                 F,^eeuted:orl ,^aruary 2^, 2Q08, at^Lvs Angeles; ^alifortiia:.
           zs                                                           1"^''
           2s
                                                               Rf1        lures
           27                                                                                    .7


oa^^^^.,                                                                      - --              ^c/
                                                DECLARATION OF RI,IDY FF.GR85 REGARDING ATTEMP'I`RR SERVICE
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 90 of 101 Page ID
                                  #:46590




                                                    EXHIBIT S
Case 2:04-cv-09049-DOC-RNB Document 2862-2 Filed 03/28/08 Page 91 of 101 Page ID
                                  #:46591                                    +F.
                                                                                   \. _....




                                                                 L.t^P it Q[; .sr^ti?.3^^.^




                                                               ^'^^ C^
                                                               c^^^^>'^i^ [.J^
                                                                   WASNl^fG3'ON. D.C.




                                 TF#^;^ I^ TD C^RTiFY that the attached additional
                 certificate is a clsi3n af'    gk^i- for the work erytitied 3ADE DOLL.
                                             yr^g
                 COi^FICURAT #ON, AC^34RIES A^#D P:4CKAGII'JG registered
                 under numlaerl^A 1-(394.287.

                               TNtS I Td CEItitTlFY ^^0           the! the attached
                 photocopies are a true representation of the wor3c entitled JADE
                 ©OLL CpNIrIGl1RATI41^1 , Ar✓CESGQRtES AND i^ACKAG13^fG
                 deposited in the Copyright Office an July 18 . 20Q1 registered under
                 nt^rnbgr !^A 9-49(}-287.

                               #N W#^NES^ YtrF# EI2^dP. the seal of this Office is
                 affixed hereto on May 17 , 2Q04.


                                              Marybeth Peters
                                              Register of Copyrights
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